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Progress and Status Summary of the USDOJ Settlement Agreement Entered

    Into by the United States of America and the City of Albuquerque

              Regarding the Albuquerque Police Department

                                     Eighth Report
                           February 1, 2018 – July 31, 2018




        Prepared by the Albuquerque Police Department Compliance Division
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I. Introduction
     The Albuquerque Police Department (APD) and the City of Albuquerque continue to

 work with the Department of Justice (DOJ) and the Independent Monitor (IM) to improve the

 overall functioning of the Department. In addition, APD has continued the work toward

 meeting the requirements of the Court Approved Settlement Agreement (CASA) to include

 the First Amended and Restated Court-Approved Settlement Agreement filed with the court

 in March 2018. Documents related to APD’s Settlement Agreement can be located at

 http://www.cabq.gov/police/documents-related-to-apds-settlement-agreement.

     This progress report is slightly different than the previous reports in two ways. First, the

 report covers the new administration’s key steps taken to strengthen APD’s reform effort.

 Secondly, the report is organized by the ten (10) sections as formatted in the CASA. The

 reader should also be aware that the Parties filed a joint stipulation suspending CASA

 paragraph 308 with the Court on March 5, 2018. According to the court filing, “the

 Independent Monitor and the City will file status reports with the Court on June 1, 2018, and

 August 31, 2018, in place of a seventh, full monitoring report on May 2, 2018.” (Doc. 355,

 pg.1). APD has continued the reform effort guided by feedback from the IM, the City and

 the DOJ; filed the second status report on August 31, 2018 (Doc. 398) and has continued to

 update the Court and Amici groups on a regular basis. The First Status Report from the City

 and Independent Monitoring Team can be located at

 http://www.cabq.gov/police/documents/first-status-report-from-the-city-and-independent-

 monitor-team-june-2018.pdf.




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Key Steps Taken by the New Administration

    In December 2017, APD and the City of Albuquerque had major changes in

administration and began directing efforts to address the CASA. Throughout the reporting

period, APD continued to make major changes within the Police Department to include the

creation of an Implementation Unit (renamed the Compliance Division) to focus on the

CASA and the long-term sustainability for Department-wide improvement, as well as

reorganization and movement throughout Command Staff positions.

    APD created a Compliance Division to provide oversight, guidance, and accountability

while serving as a centralized Division for CASA-related activities. The Division is

responsible for process development, auditing and assessment functions, and will specifically

focus on Level 1 Use of Force and Show of Force case reviews. The Compliance Division

organizational chart is attached to this document as Appendix 1.

    APD evaluated positions within the former Inspections Division and repurposed these

positions to assist with the implementation and audit functions throughout the CASA. APD

created a Compliance Bureau managed by a Deputy Chief of Police and a Compliance

Division under that Bureau to oversee the compliance and reform effort. An assigned

Lieutenant manages the Compliance Section, assisting in oversight of CASA-related

activities.

    Two units have been created within the Compliance Section; the Implementation Unit

and the Performance Metrics Unit with a new manager assigned to each unit. The

Implementation Unit assists project leads with their assigned CASA paragraphs and

emphasizes the identification and design of new processes while also addressing process


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related issues to improve upon efficiency and effectiveness within a specified area. The

Performance Metrics Unit will perform audit and assessment functions including auditing,

evaluation, analysis and reporting on a variety of Departmental operations.

   Auditing is an essential function within the reform effort and is required throughout the

CASA. The Compliance Section, Performance Metrics Unit has developed audit plans and

tentative scheduling for the remainder of 2018 and into 2019. The audit schedule is subject

to change with the needs of the department. The audit schedule is included with this report at

Appendix These audit plans are driven by three key factors:


          Court Approved Settlement Agreement (CASA);

          Risk assessment results (Risk assessment results are evaluations on policies for

           risk on the likelihood and impact on the Department); and

          Internal resources to execute the plan (evaluation of the audit scope based on the

           Unit resources).

   The goal is to prioritize CASA-related policies and test not only compliance but assess

potential risk areas. The Performance Metrics Unit conducts audits in accordance with the

Generally Accepted Government Auditing Standards (GAGAS). www.gao.gov/yellowbook

   APD also created the Performance Review Section within the Compliance Division with

the Performance Review Unit under the Section Lieutenant. The Performance Review

Section includes one (1) Lieutenant and three (3) Officers, one of those officers have been

officially assigned to the Unit and two (2) are assisting the Field Services Bureau until

September 2018. One Sergeant and four Video Review personnel will be added upon

staffing approval and hiring. This section will serve as an additional assessment function of


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Level 1 Use of Force and Show of Force cases to ensure APD is thoroughly reviewing cases

and identifying strengths and weaknesses in those reviews. The Performance Review

Section Lieutenant manages the administrative portion of the Force Review Board (FRB) to

ensure recommendations stemming from the FRB are routed correctly, addressed, and

returned by the assigned deadlines.

   Another major step for APD’s focus on Use of Force and accountability was to divide the

Internal Affairs Division into two separate divisions under the Compliance Bureau. In March

2018, APD divided the Internal Affairs Division into the Internal Affairs – Force Division

and Internal Affairs – Misconduct Division. This was done to narrow the scope of

responsibility of the division Commanders. APD assigned a Commander to the Internal

Affairs – Force Division and retained the existing Internal Affairs Division Commander

assigned to the Internal Affairs – Misconduct Division.

   APD also strengthened its efforts in CASA-related activities by assigning one person,

mostly sworn, to be responsible for each measurable paragraph within the CASA. This was

done for accountability purposes, to have one person leading the effort for each specific

paragraph, to increase sworn participation, and to show that sworn personnel are committed

to the effort. Some paragraph project leads were changed to reduce collateral duties for those

assigned too many tasks. This will allow more time and energy towards specific efforts

versus overtasking personnel with several unrelated tasks and/or paragraphs.

   APD’s Compliance Bureau also created a detailed compliance plan to address the issues

raised by the IM. This compliance plan outlined specific tasks and deadlines and guided

APD’s efforts during the reporting period of February 1, 2018, through July 31, 2018. The

document is in the appendix. The compliance plan encompassed ninety-one (91) tasks for

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APD to complete during this reporting period. Out of the ninety-one (91) tasks, eighty-eight

(88) were completed during this timeframe (96.70%). There are three incomplete tasks from

the compliance plan; two of which are duplicate tasks for training Video Review Unit

personnel. These two tasks remain incomplete as APD is awaiting the hiring process to be

completed. Once personnel are hired, they will be trained on their respective duties. The last

incomplete task is training members of the Force Review Board. The entire Force Review

Board program is being reevaluated and developed. Once the development is complete,

Force Review Board members will be trained and board meetings will commence.

   In addition to the compliance plan and two-mini reports, the data outcomes and

assessments within paragraph 298 were also provided to the IM for review. APD manually

researched and pulled data for each section required in paragraph 298. The poor quality of

the data provided in the past has been the focus of many of the IM’s conversations and

moving forward, APD chose to take a different approach. APD began to identify the data

source to identify where the data originated, how the queries were developed to capture such

data and if the data were accurate and useable. APD found many areas where the data were

accurate, valid and useable. It is important to mention APD also identified areas that need

improvement and further validation. APD created a 3-phase approach in a continued effort

to validate and verify Department data. Progress on paragraph 298 outcomes and

assessments are discussed in detail later in this progress report.

Compliance Levels and The CASA’s Measurable Paragraphs

   There are two hundred seventy-five (275) paragraphs within the CASA with measurable

requirements. Throughout this report, paragraphs within the CASA are written as CASA



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   paragraphs or simply, paragraphs. As of the Independent Monitor’s Sixth Report from

   November 2017, APD’s overall compliance rates for this reporting period are as follows:


               Primary compliance - 97%;

               Secondary compliance - 71%; and

               Operational compliance - 52%

       Below is IMR-1 through IMR-6 with APD’s compliance measurements over time (IMR-

6, pg. 17). Because of the parties’ joint stipulation, and the modified reporting convention, the

IM’s compliance assessment has not changed since IMR-6. The next IM report is to be filed

with the Court in early November 2018.




       As defined in IMR-1, compliance measurements in the APD monitoring process consists

   of three parts: primary, secondary, and operational:




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       Primary compliance is the “policy” part of compliance. To attain primary

        compliance, APD must have in place operational policies and procedures

        designed to guide officers, supervisors and managers in the performance of the

        tasks outlined in the CASA. As a matter of course, the policies must be reflective

        of the requirements of the CASA; must comply with national standards for

        effective policing policy; and must demonstrate trainable and evaluable policy

        components.

       Secondary compliance can be attained by implementing supervisory, managerial

        and executive practices designed to (and effective in) implementing the policy as

        written, e.g., Sergeants routinely enforce the policies among field personnel and

        are held accountable by managerial and executive levels of the Department for

        doing so. By definition, there should be operational artifacts (reports, disciplinary

        records, remands to retraining, follow-up, and even revisions to policies if

        necessary, indicating that the policies developed in the first stage of compliance

        are known to, followed by, and important to supervisory and managerial levels of

        the agency.

       Operational compliance is attained at the point that the adherence to policies is

        apparent in the day-to-day operation of the agency e.g., line personnel are

        routinely held accountable for compliance, not by the monitoring staff, but by

        their Sergeants, and Sergeants are routinely held accountable for compliance by

        their Lieutenants and command staff. In other words, APD ‘owns’ and enforces

        its own policies” (IMR-1, pg. 13).




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 How This Progress Report Is Organized

    This report will address progress made during this reporting period and APD’s responses
 to IMT recommendations. The progress will follow the format of the CASA, which is
 divided into ten (10) areas. Eight of the ten areas also include multiple subsections and this
 progress report includes information about those subsections and if any changes occurred
 during this reporting period. The reader should know that several paragraphs overlap, flow
 into one another and some have the same requirements within them. APD has a better
 understanding of the expectations within the CASA; therefore, APD has addressed these
 paragraphs in one section, as needed for easier reading. The ten CASA areas are:

    1. Use of Force: Internal Controls and Accountability;
    2. Specialized Units;
    3. Crisis Intervention;
    4. Policies and Training Generally;
    5. Misconduct, Complaint Intake and Adjudication;
    6. Staffing, Management, and Supervision;
    7. Recruitment, Selection, and Promotions;
    8. Officers Assistance and Support; and
    9. Community Engagement and Oversight
    10. Assessing Compliance

II. APD’s Progress On The CASA’s Measurable Paragraphs
    The remainder of this report provides detailed information about the progress APD has

 made in measurable paragraphs in the ten CASA areas during the reporting period of

 February 2018 through July 2018.

 CASA Area 1: Use of Force: Internal Controls and Accountability (Paragraphs 14-89)

    The Use of Force section of the CASA has nine subsections: A) Use of Force Principles;

 B) Use of Firearms; C) Electronic Control Weapons; D) Crowd Control; E) Use of Force



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Reporting; F) Force Investigations; G) Force Review Board; H) Multi-Agency Task Force;

and I) Use of Force Training. Each of these subsections will be addressed in order.

A) Use of Force Principles (Paragraphs 14-17)

   Use of Force policy and training recommendations from the IMT are considerable and

extensive, spanning throughout the related paragraphs within this section. During this

reporting period, APD has taken major steps to focus on Use of Force. One of the most

important steps taken is the revision to APD’s Use of Force-related policies. The revisions

have included input and feedback from personnel of the Albuquerque Police Department, the

City of Albuquerque, attorneys with the Department of Justice, the Albuquerque Police

Officer’s Association, Police Oversight Board, Civilian Police Oversight Agency and Amici

groups.

   APD began the revision process and followed the SOP 3-52 policy development process

for Use of Force policies on March 23, 2018. The policy development process can be located

at http://www.cabq.gov/police/standard-operating-procedures.

   The progress for Use of Force policies are as follows:


             2-52 Use of Force General Policy – Comments have been received from the

              community, IM and Parties and a resolution draft will be submitted for monitor

              approval on September 4, 2018;

             2-53 Definitions – Sent to POB on August 2, 2018, for 30 day review and

              comments are due back from the IM and Parties by September 7, 2018;

             2-54 Intermediate Weapons – Sent to POB on August 10, 2018, for 30 day review

              and comments are due back from the IM and Parties by September 10, 2018;

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              2-55 De-escalation – Sent to POB on August 10, 2018, for 30 day review and

               comments are due back from the IM and Parties by September 10, 2018;

              2-56 Reporting Use of Force – first draft submitted to the Parties, IM and POB on

               August 8, 2018; and

              2-57 Supervisory Review and Investigation – first draft submitted to the Parties,

               IM and POB on August 8, 2018.

       On June 2, 2018, the City of Albuquerque filed with the Court to extend the deadline to

   review the Use of Force policies and training as anticipated in paragraph 86 of the CASA, to

   ensure that they, “incorporate, and are consistent with, the Constitution and provisions of the

   CASA. The Court accepted all of the stipulated changes to the CASA and ordered them

   effective on April 12, 2018. For the foregoing reasons, the City respectfully moves this Court

   to extend the June 2, 2018 deadline to review Use of Force policies to September 21, 2018

   and requests that the deadline to review training on the Use of Force policies be extended to

   October 1, 2018” (Doc. 376).

   B) Use of Firearms (Paragraphs 18-23)

       The IMT made two recommendations relating to paragraphs 18 and 19; both of which

concerned APD’s need to develop policies and develop review/audit processes. As stated above,

APD has created the Performance Metrics Unit in April 2018 that is responsible for audit

functions. Audit scheduling was created for the remainder of 2018 and for 2019 and APD is

moving forward with audit functions. Prior to the creation of the Performance Metrics Unit,

APD’s Inspection Unit conducted an audit during APD firearms qualifications and found that

APD’s current tracking of firearms is not efficient.



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       In addition, the Training Academy has been utilizing a new database to assist in tracking

data for firearms qualifications, along with other training-related activities. The Training

Academy has been experiencing and identifying deficiencies in this system, which is the first

step for improving data collection efforts in order to meet the requirements of these paragraphs.

       One of the recommendations of the IMT states that APD will not train personnel prior to

policy approval. APD agreed with that recommendation and stopped the practice of training

before policies are approved. APD has taken recommendations seriously and the Training

Academy is revising the firearms policy to address firearms qualifications standards and to

explain failure to qualify and remediation processes for personnel to meet the requirements of

paragraphs 18-21.

       For paragraphs 22 and 23, APD has taken steps to address firearms discharges, which are

included in policy and the upcoming revision of Use of Force policies. Not only has the IMT

made several recommendations but also APD recognized this as a data outcomes issue when the

IM requested data for paragraph 298, which is discussed later in this progress report. The IMT

mentions the Early Intervention and Recognition Systems policy and the inclusion of firearms

discharges. EIRS is also discussed in a separate section within this progress report; however,

APD agreed with these recommendations.

   C) Electronic Control Weapons (Paragraphs 24-38)

       On May 21, 2018, APD conducted a Department-wide April 2018 quarterly upload audit

on Electronic Control Weapons (ECW), commonly known as the Taser. The audit determined

the following results:


          93.37% of ECWs were uploaded in the appropriate timeframe; and


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           6.63% failed to upload their ECW within the month of April.

       The findings demonstrated that APD missed sworn personnel in On-the-Job Training

(OJT) as they transferred through new training assignments and some were newly hired

personnel not issued an ECW. This accounted for 2.20% of ECWs not uploaded; while others

failed to upload their ECW, accounting for 4.43%.

   As stated earlier, APD took a different approach than in the past when it comes to CASA

paragraph oversight. The new ECW paragraphs project lead was tasked with evaluating the

ECW processes to identify deficiencies. In order to improve processes, steps were taken to assist

the Department in completing this task. The project lead sent out email reminders to Division

Heads throughout the upload period. In addition, the APD Compliance Section, Performance

Metrics Unit conducted an informational meeting for Division Heads and their administrative

staff to learn how to run reports during the upload timeframe to monitor progress within their

Divisions. To address missed OJT personnel, the Field Training and Evaluation Program

Sergeant will be responsible for the oversight of future uploads.

   Between May 15-25, 2018, the Compliance Section, Performance Metrics Unit conducted a

random ECW audit on the Southeast Area Command. Ten percent (10%) of Officers assigned to

this Area Command were to upload their ECW data during a specified timeframe. The goal was

two-fold:


           To determine if spark tests (conducted to ensure the ECW functionality) were

            conducted; and

           If reported ECW Uses of Force corresponded with the ECW upload.




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   APD has known that spark test identifications are difficult on the currently assigned x26

Taser. The differentiation between a deployment and a spark test is not easily identified. This

issue continues and APD is in the procurement stage of purchasing the x2 Taser which has the

capability of differentiating between the two. APD found that all Uses of Force involving ECW

matched the upload.

   D) Crowd Control and Incident Management (Paragraphs 39-40)

   The Emergency Response Team (ERT) is the team responsible for “responding to requests

for deployment to nonemergency peaceful gatherings in which citizens appear to be exercising

their First Amendment rights in civil assembly. ERT shall also be deployed to emergency

incidents, including civil unrest, civil disturbances, declared states of emergency and natural

disasters. The ERT shall respond to all civil gatherings where the potential for violence or other

illegal behavior exists. The ERT shall respond to large assemblies which may require

deployment of a mobile field force, as well as to other incidents if requested by the APD chain of

command or by Field Services supervisors” (APD SOP 2-29 Emergency Response Team).

Policies can be located at http://www.cabq.gov/police/standard-operating-procedures/standard-

operating-procedures-manual.

   The ERT SOP is currently going through the 3-52 policy development process for review and

approval. The policy was:


              Presented to the Office of Policy Analysis on June 7, 2018;

              Presented to the Policy and Procedure Review Board (PPRB) on August 10, 2018;

               and

              Sent to POB on August 22, 2018, for 30-day review.


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   To meet IMT recommendations, a training plan is being developed following the Training

Academy’s 7-step process upon policy approval. All ERT supervisors will be trained first and

then the entire ERT team.

   At the recommendation of the IMT, APD will also train all sworn personnel and Emergency

Control Center (also known as Dispatch) on handling an unplanned, First Amendment

demonstration prior to ERT arrival. This training plan will also follow the Training Academy’s

7-step process upon policy approval.

   ERT members attended annual training with New Mexico State Police and the Bernalillo

County Sheriff’s Department on June 29, 2018.

   For paragraphs 39 and 40, the IMT recommended that the Multi-Agency Review and

Assessment Form correspond to the policy and all forms be standardized. APD has incorporated

the form into the policy, which is in the policy development process. APD ensured that After-

Action Reports follow a standard structure and include mechanisms for communication, to

include needed revisions to policy and training within the agency.

   Another recommendation from the IMT stated, “any recommendation made from After-

Action reporting should follow a logical and repetitive cycle wherein APD can demonstrate it

adequately ‘closes the loop’ on lessons learned” (IMR-6, pg. 75).

   APD has standardized After Action Reports and have incorporated the AAR into the policy

that is pending approval. The After Action Report is prepared by the call-out incident

Commander; any recommendations or issues of concern are immediately documented and

brought up to ERT supervisors in order to make a determination if the issue rises to the level of a

training need or policy revision.


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   E) Use of Force Reporting (Paragraphs 41-45); F) Force Investigations (Including

   Supervisory Force Reviews & Force Investigations by the Internal Affairs Division)

   (Paragraphs 46-77)

   During this reporting period, the City filed with the Court on March 5, 2018, an amendment

to the CASA to address changes in Use of Force reporting within paragraphs 41-45. In

paragraph 41 of the CASA, “Uses of Force will be divided into three levels for reporting,

investigating, and reviewing purposes” (Doc. 354-1, pg. 21). Use of Forces will now be

classified as Levels 1, 2, and 3. As stated above, APD has been diligently working towards

revising the entire Use of Force policy suite.

       “The goal is to promote greater efficiency and reduce burdens on first-line supervisors,

while optimizing critical investigative resources on higher-risk Uses of Force. The levels of

force are defined as follow:


      Level 1 is force that is likely to cause only transitory pain, disorientation, or discomfort

       during its application as a means of gaining compliance. This includes techniques,

       which are not reasonably expected to cause injury, do not result in actual injury, and are

       not likely to result in a complaint of injury (i.e., pain compliance techniques and resisted

       handcuffing). Pointing a firearm, beanbag shotgun, or 40 millimeter launcher at a

       subject, or using an ECW to “paint” a subject with the laser sight, as a Show of Force

       are reportable as Level 1 force. Level 1 force does not include interaction meant to

       guide, assist, or control an individual who is offering minimal resistance.

      Level 2 is force that causes injury, could reasonably be expected to cause injury, or

       results in a complaint of injury. Level 2 force includes use of an ECW, including where

       an ECW is fired at a subject but misses; use of a beanbag shotgun or 40 millimeter

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       launcher, including where it is fired at a subject but misses; OC Spray application; empty

       hand techniques (i.e., strikes, kicks, takedowns, distraction techniques, or leg sweeps);

       and strikes with impact weapons, except strikes to the head, neck, or throat, which would

       be considered a Level 3 Use of Force.

      Level 3 is force that results in, or could reasonably result in, serious physical injury,

       hospitalization, or death. Level 3 force includes all lethal force; critical firearms

       discharges; all head, neck, and throat strikes with an object; neck holds; canine bites;

       three or more uses of an ECW on an individual during a single interaction regardless of

       mode or duration or an ECW application for longer than 15 seconds, whether continuous

       or consecutive; four or more strikes with a baton; and Uses of Force resulting in a loss of

       consciousness” (Doc. 354-1, pg. 23-24).

   APD is working towards improving Use of Force case reviews at multiple levels. The newly

created IA-Force Division and the Compliance Division- Performance Review Section, will be

responsible for the thorough and consistent reviews of Use of Force cases. The Performance

Review Section will be responsible for the reviews of Level 1 cases and the Internal Affairs-

Force Division will be responsible for Levels 2 and 3 cases.

   The APD IA-Force Division is comprised of:


          One (1) Commander;

          One (1) Lieutenant;

          Three (3) Sergeants;

          Ten (10) Detectives;

          One (1) Program Data Analyst; and



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          One (1) Administrative Assistant

   The ten (10) detectives assigned to the Division have separate and distinct responsibilities.

Five (5) are responsible for investigative functions of serious Use of Force cases and five (5) are

designated for conducting Use of Force backlog case reviews.

   APD is in the process of conducting reviews, per IMT recommendations, on previously

completed Serious Use of Force, Use of Force and Show of Force cases to ensure that the

Department is properly investigating cases, identifying deficiencies in Use of Force

investigations and developing action plans to address those deficiencies. The following goals

guide the work of these reviewers:


          To assess the original supervisor or investigator’s finding concerning whether the Use

           of Force or Show of Force was in or out of policy;

          To identify policy violations, unrelated to the application of force by the officers

           which were not captured in the original investigation;

          To identify potential criminal conduct in either the force used by the Officers or other

           actions taken; and

          To identify deficiencies in training, policy, tactics, and equipment as well as

           supervisory deficiencies in the reporting, investigating, and reviewing Use of Force

           incidents so that these trends can be captured and applied for training and work

           performance purposes.

       The review of supervisor Use of Force investigations will consider investigations

completed by the Field Services Bureau (FSB) chain of command. The review of a serious Use




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of Force investigation will involve investigations, which have been completed by the IA-Force

chain of command that are pending presentation to the Force Review Board (FRB).

       On a weekly basis a status report is sent to command level personnel updating them on

the status of supervisor Use of Force investigations pending in various chains of command. As

of July 27, 2018, the following represents the number of Use of Force and Show of Force cases

pending based upon the amount of time that has passed since the investigation was initiated:

       1.      Fifty-two (52) Use of Force cases pending sixty days or less;

       2.      Twelve (12) Show of Force cases pending sixty days or less;

       3.      Nine (9) Use of Force cases pending more than sixty days; and

       4.      No Show of Force cases pending more than sixty days.

       Since the issuance of the Special Order 18-58 on May 18, 2018, which required timelines

for field chain of command investigations, the cases in chain have gone from over 200 to 84 on

July 27, 2018. APD does not anticipate any cases going past the 120-day limit again.

       The total number of backlog Use of Force and Show of Force investigations that need to

be reviewed is three hundred and fifteen (315) incidents. Within the three hundred and fifteen

incidents, there are seventy-five (75) Show of Force incidents to be reviewed. There are also

twenty-six (26) serious Use of Force investigations.

       In addition to the investigative response to a Use of Force, APD includes a distinct

administrative data entry and analysis function that enhances the Department’s understanding of

the data generated by these incidents. This function enables the Department to produce the data it

needs for the paragraph 298 outcomes assessment and to publish the annual Use of Force report


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anticipated by paragraph 79 of the CASA. (Doc. 354-1, pg. 38) (See, Doc. 356, Adopting

Certain Modifications to the First Amended and Restated CASA). These data include the

number of custodial arrests that involved Use of Force, number of individuals armed with

weapons, geographic data, demographic data and number of individuals injured.

       In addition to these data, APD has incorporated additional checkpoints in the review

process to capture other critical information including:


          All attachments listed in reports and mandated by policy are in the entry;

          Data concerning the use or failure to activate on-body recording devices;

          Criminal charges;

          Proper case and incident number;

          Type of resistance from a subject of force; and

          Types of force.

       The investigating supervisor rather than the involved officer(s) now initiate the

administrative entry of a force incident. This is because there may be multiple officers involved

in a Use of Force incident and it is inefficient have multiple administrative entries for multiple

officers. This Blue Team entry primarily consists of the Use of Force report, Use of Force data

report and Use of Force narrative report by the involved officers. Once the supervisor completes

an investigation, the case is forwarded to the Lieutenant and then the Commander for review and

approval. The investigating supervisor is responsible for making a finding about whether the

Use of Force (or Show of Force) is in policy or out of policy and the chain of command must

either concur or disagree with that finding.




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       The Blue Team entry can be sent back and forth in the chain of command for a variety of

reasons, such as deficiency in the Officer’s reporting, or the review of force by an investigating

supervisor is found insufficient by a Lieutenant or Commander, or required documentation has

not been attached to the entry. The supervisor force investigation is completed by the field chain

of command and the Blue Team entry is forwarded to an administrative assistant in the Internal

Affairs - Force Division.

       The administrative assistant is responsible for reviewing the Blue Team entry and

supporting documents to ensure that all the required data and documentation is included. The

administrative assistant does not edit or revise the review by the chain of command, or the

respective findings and all of the required data and documents must be included before the entry

can be warehoused in the database. Historically there have been issues gathering data and

documents from personnel in the chain of command and only one administrative assistant has

been tasked with this work.

       During the reporting period, a staffing plan was generated which called for additional

personnel to assist the one dedicated administrative assistant in clearing the backlog

administrative entries. The needs of the staffing plan were initially met, the backlog was

remediated; however, personnel were reassigned away from the Division, which led to the

backlog increasing back to one hundred and ninety four (194) entries.

   G) Force Review Board (Paragraphs 78-80)

   In November 2017, the majority of the previous administration retired and the restructuring

of the Department began. This included changes in position titles among Executive Staff (i.e. the

rank of Major was no longer in existence). During this interim period, activities of the FRB


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ceased until the new administration was in place and properly trained. The last FRB meetings

were as follows:


          Tactical FRB: November 1, 2017;

          Critical Incident Review Team (CIRT) FRB: November 15, 2017; and

          Supervisory FRB: November 29, 2017

   There were several issues and statements by the IMT surrounding FRB and its efforts in the

past. The IMT replied to a case reviewed by the FRB, stating, “APD has presented a case that

involved both the Use of Force and serious Use of Force. That case was mishandled from the

initial event up to and including the FRB review of the case. The case represents a serious

indictment of the effectiveness of APD’s entire Use of Force oversight and accountability

system” (IMR-6. pg. 178).

   In addition to the change in administration, several recommendations from the Independent

Monitor Reports suggested the need to revamp the FRB process, stating APD’s oversight “has

reached a point of critical failure” and implement formal training for all FRB members (IMR-6,

pg. 179). This would also include revising the FRB policy. A training curriculum for FRB was

developed and submitted for IMT approval in May 2018. This training plan did not meet the

approval of the IMT.

   During the June 2018 site visit, the IMT suggested the curriculum be revised to include not

only the provided technical assistance and recommendations from the IMT, but also best

practices from outside law enforcement agencies. The newly formed Compliance Bureau

decided a change in project leads would be necessary to devote the amount of time needed to

focus on FRB moving forward. In June 2018, APD switched the FRB project leads with a new


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focus on FRB processes, including defining clear roles and responsibilities of voting and non-

voting board members.

   The project lead created a focus group, including personnel from the Special Operations

Division and Internal Affairs- Force Division, to address the concerns surrounding the FRB. The

group has focused on cases pending review by the FRB, policy revision, and developing training

plans for FRB members. The FRB group has been working with the Training Academy’s

Comprehensive Training Unit on the 7-step process, beginning with a Needs Assessment, to

effectively train FRB members.

   APD did not anticipate reevaluating the Force Review Board as a whole; however, the

identification of the need to do so is important to notice. The project lead and the focus group

have been reworking the project from policy and training to becoming operational. Training of

FRB members will not be conducted until a training plan has been submitted and approved by

the IMT as stated above with the new direction.

   APD will create an FRB board schedule to review current cases awaiting FRB presentation:


            Tactical activations: 46 cases

            CIRT cases: 33 cases

            Supervisory cases: 62 cases

APD understands the necessity of FRB; however, further understands the need for a thorough

and proper program development.

   H) Multi-Agency Task Force (Paragraphs 81-85)




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   The Multi-Agency Task Force (MATF) is in operational compliance for all paragraphs. The

MATF is comprised of personnel from the Albuquerque Police Department, the New Mexico

State Police, the Bernalillo County Sheriff’s Department and Rio Rancho Police Department.

During the reporting period, the Multi-Agency Task Force drafted with the proposed revisions,

the Memorandum of Agreement (MOA) that meets the needs of all included agencies. The

MOA is awaiting multi-agency approval. APD MATF personnel will continue to meet on a

regular basis with other MATF jurisdictions.

   In order to maintain direct oversight of the MATF, APD is creating a collateral duty position,

MATF Sergeant Coordinator. The MATF Sergeant Coordinator will be responsible for case

documentation, assignment and status. APD identified the need for more thorough call out

documentation, such as identifying the type of call out incident and case distribution both

internal to and external of APD.

   I) Use of Force Training (Paragraphs 86-89)

       One of the biggest issues and criticisms of APD in the past was APD training personnel

on unapproved policies. APD no longer trains personnel on any policy until approved by the

IMT. APD goes a step further with guidance from the IMT, to follow a standardized 7-step

training process in the development of any training. The revised Use of Force policy suite will

follow this process.

       APD created a Comprehensive Training Unit (CTU) within the Training Academy in

response to IMT recommendation and adopted the 7-step training process.

       As stated earlier in the Use of Force section of this progress report, APD has been

revising all Use of Force related policies. After those policies are approved, APD will develop


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training following the Training Academy’s 7-step process based on those policy revisions. APD

will not train on any changes to Use of Force without policy approval. APD does continue to

train newly hired personnel on the current Use of Force policy.

       APD continues to train on firearms and personnel have to, “satisfactorily pass firearms

training and qualify for regulation and other service firearms, as necessary, on an annual basis”

(Amended CASA, pg. 41).

 CASA Area 2. Specialized Units (Paragraphs 90-109)

       Specialized Units include both specialized tactical and specialized investigative units.

   For the following paragraphs, the Special Operations Division Commander is responsible for

   tactical-related paragraphs and the Special Investigations Division Commander is responsible

   for the investigative-related paragraphs described below.

   A) Special Operations Division (Paragraphs 90-105)

       During this reporting period, APD promoted a Lieutenant to Commander and assigned

   that Commander over Special Operations Division (SOD) on February 17, 2018. SOD has

   taken steps to adhere to IMT recommendations from IMR-6 and the June 2018 site visit.

   SOD completed the Division’s annual review in April 2018. SOD assigned an

   Administrative Lieutenant to the Division in June 2018 to develop, maintain and implement

   improvements throughout the Division.

       SOD continues to track, document and conduct K-9 deployment reviews on all K-9 bites

   and all tactical deployments. Bite ratios and 20% thresholds are tracked by SOD monthly

   and SOD provides a memorandum to the Internal Affairs-Misconduct Division for the Early

   Intervention and Recognition System (EIRS). At this time, APD’s current EIRS system does

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not have the capability to include bite ratios into EIRS; however, this will be discussed in

detail in the EIRS section of this progress report.

   SOD is improving the development and Department-wide use of the Risk Assessment

Matrix (RAM) to ensure SOD responds to critical situations where a tactical unit is required.

In May 2018, a Special Order 18-50 was published with guidelines for units to abide by

when using the matrix. The SOD Administrative Lieutenant developed a training plan for

the RAM. The plan is going through the APD Training Academy’s 7-step process with input

from the IMT and is in the review process. Training will be conducted upon review and

approval. The IMT recommended that SOD conduct audits of the Risk Assessment Matrix

(RAM). In May 2018, SOD began conducting audits to verify proper use of the matrix

Department-wide, which requires managerial responses to findings, if needed.

   The IMT recommended that APD, specifically SOD and the Emergency Response Team

(ERT), classify chemical munitions and Noise Flash Diversionary Device (NFDD) as

reportable Uses of Force. APD has taken that recommendation and as of June 2018, APD

has classified them as such.

   When SOD transfers new personnel into the Division, each unit has unit-specific

handbooks for each new transfer to complete. SOD SWAT currently has three (3) SWAT

Officers who are in the process of completing their unit specific handbook. This handbook

includes specific areas that must be completed and passed during the one-year observation

period.

   SOD reviewed all policies affecting the Division and made revisions to policies as

needed. The policies were submitted through and are going through the approval process.


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       SOD is standardizing training documents and is collaborating with the APD Training

   Academy on the form and style of current and future training plans. SOD has adapted the

   Training Academy’s 7-step training process, has started integrating that process into SOD’s

   training plans which includes housing the training plans at the Training Academy. Some

   examples of training plans submitted through the 7-step process are the Risk Assessment

   Matrix, Supervisor training on Tactical Activations, 40-hour Tactical Emergency Medical

   Support (TEMS) and Crisis Negotiation Team Training.

       The Compliance Section, Performance Review Unit started an audit of SOD in August

   2018. The unit has established an audit that will test the Standard Operating Procedures

   (SOP) outlined in policies. The scope of the audit will entail the current SOP in place, any

   related special orders and any IMT recommendations.

   B) Special Investigations Division (Paragraphs 106-109)

   All Special Investigations Division (SID) paragraphs are in operational compliance. As new

personnel transfer into the Division, each one will attend a new detective orientation and receive

a unit specific handbook. The orientation provides new detectives with the overarching mission

and duties of the Special Investigation Division. Each transfer is evaluated against specific and

predetermined performance criteria.

   During this reporting period, the Organized Crime Unit (OCU) became part of SID and each

detective attended SID’s orientation. Since June 2018 when OCU joined SID, the SID

Commander approved the newly developed unit handbook.




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   SID utilizes a program to capture divisional investigative work product, tracking and

analyzing each unit’s investigative response. SID completes Operational Plans and the Risk

Assessment Matrix to identify instances where a specialized tactical unit is required.

   The Compliance Section, Performance Review Unit will start an audit of SID in September

2018. The unit has established an audit that will test the Standard Operating Procedures (SOP)

outlined in policies. The scope of the audit will entail the current SOP in place, any related

special orders and any IMT recommendations.

CASA Area 3: Crisis Intervention (Paragraphs 111-137)

   The Crisis Intervention Unit (CIU) has made a number of important improvements overall

and in response to specific recommendations by the IMT. Overall CIU has:


          Worked with the new Assistant City Attorney with revising policies affecting

           behavioral health. The recently revised policies also included feedback and

           collaboration with the McClendon Sub-class attorneys;

          Improved the collection of critical data about calls for service with a behavioral

           health component. CIU has been working with the administrator of the CIT

           worksheets tracking platform to ensure that all CIT referrals and reports are

           completed as required by APD’s policy; and

          Completed the CIU handbook on June 12, 2018. CIU has added benefits for their

           handbook. As one added benefit, CIU provides the unit handbook to stakeholders

           that have strong ties with APD’s Behavioral Health, such as the Mental Health

           Response Advisory Committee (MHRAC), to have in-depth information about the

           unit and assist in board member succession. Current detectives, as well as potential,


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           future detectives receive this handbook to read, learn, and understand the functions of

           CIU.




   A) Mental Health Response Advisory Committee (Paragraphs 110-117)

   One recommendation for paragraph 110 was for APD to conform to the goals within

paragraphs 110-137. One of those goals stated within the CASA, “APD agrees to develop,

implement and support more integrated, specialized responses to individuals in mental health

crisis through collaborative partnerships with community stakeholders, specialized training, and

improved communication and coordination with mental health professionals” (Doc. 354-1, First

Amended and Restated Court-Approved Settlement Agreement, pg. 46). CIU has established the

Mobile Crisis Team (MCT), which are teams comprised of mental health professionals and eCIT

Officers who are responsible for responding to priority behavioral health crisis calls and

intervention. MCTs are trained to complement the eCIT and CIU.

   A recommendation for paragraph 113 was to “assess MHRAC-APD information interfaces to

identify ways of increasing lead times presented to MHRAC from APD related to issue review

and consideration and development of recommendations” (IMR-6, pg. 257). APD has responded

to this recommendation by CIU immediately sending MHRAC the created and/or revised

training plan for review, consideration and development of recommendations. Once APD

receives feedback from MHRAC, CIU will brief and revise all recommendations deemed

appropriate. CIU and MHRAC will continue an already strong working relationship.

   For paragraph 115, the IMT recommended that APD, “submit required documentation to

MHRAC as well as documentation from MHRAC noting review and approval. Ensure that


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documentation is responsive to relationship building and scenario-based training” (IMR-6, pg.

259). APD has CIU-based Reality Based Training (RBT) scheduled for August 23, 2018. CIU

will be sending MHRAC scenarios by the end of August 2018 for their review.

   In response to the recommendation for paragraph 117, “ensure MHRAC reports are posted

on relevant City of Albuquerque websites” (IMR-6, pg. 260), the 2017 annual report is posted

and available on the City’s website; https://www.cabq.gov/mental-health-response-advisory-

committee/mental-health-response-advisory-committee-resources-links-documents/mental-

health-response-advisory-committee-documents.

   For paragraphs 123 and 124, the IMT made the recommendation for “APD to develop and

execute a data-based, methodologically appropriate workload and manpower planning analysis

that ensures that reliable staffing levels for eCIT Officers are calculated, reported, set as staffing

goals, and attained” (IMR-6, pg. 265). At the time of this report and required by the CASA,

CIU has twelve (12) detectives. The administrative assistant is currently updating a database and

one full-time CIU detective is the designee for the eCIT training block. APD is currently at the

required 40% level, with 46.5%.

   B) Behavioral Health Training (Paragraphs 118-122) and C) Crisis Intervention Certified

   Responders and Crisis Intervention Unit (Paragraphs 123-131)

   During this reporting period, Crisis Intervention Unit (CIU) personnel conducted two (2)

enhanced Crisis Intervention Training (eCIT) classes: June 14, 2018, and July 12, 2018. At the

time of this report, 46.5% of Field Services Bureau officers are certified eCIT and CIU continues

to track the percentage of Field Services Bureau officers eCIT trained. In order for APD to

continue assessment and improvement efforts, CIU created a new 8-hour training plan for eCIT


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refresher training, revised the 40-hour training plan for the Crisis Intervention Team (CIT)

training, and revised the training plan for cadets. Much like the APD Training Academy, CIU

has implemented pre-tests to establish baseline knowledge and post-tests to measure the transfer

of knowledge. For eCIT training only, students are required to take an additional exam.

Students have to take an entrance exam to ensure the officer’s knowledge is sufficient to

participate in the enhanced-level course. The unit also, at the request of the IMT, tracks all

training requests received, both internal and external. This has proven to be invaluable tracking

as these requests illustrate trust of APD by outside agencies.

   CIU has identified the need to have a process in place for civilian personnel who fail the pre-

test, post-test or both. CIU experienced this scenario in July 2018 without a formal plan in place.

CIU is developing a plan to address this issue and to ensure the plan is consistent for participants

who may find themselves in this position.

   For paragraph 125, the IMT recommended APD “submit training documentation for CIT and

other related behavioral health training, e.g., routinely kept class rosters, exam score, etc”

(IMR-6, pg. 266). CIU assesses and evaluates officers, looking for the skills for prospect eCIT

officers. At the completion of the training, coordinators meet with the prospective officers and

discuss eCIT. If agreed upon by CIU staff and the officers, the officers are scheduled for eCIT

training. In addition to this response, eCIT certification is valid for two years and the next eCIT

refresher is scheduled for October 2018.

   For paragraph 127, the IMT has recommended that, “APD complete eCIT training as

designed and evaluate performance via a reasonable testing procedure” (IMR-6, pg. 267). CIU

has conducted an internal analysis to include the mandatory 40% eCIT trained, staffing levels of



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CIU needed to maintain such requirement, implemented viable testing protocols and CIU will

continue to offer eCIT training opportunities to maintain that level.

   For paragraph 128, the recommendation stated that, “APD establish a clear, meaningful

protocol for CIU response; train that protocol; and supervise implementation” (IMR-6, pg. 268).

CIU will be conducting mandatory training for APD personnel starting in October 2018 and the

recommendation response is incorporated in that training.

   Paragraph 131 discusses collaboration with MHRAC concerning protocols that “addresses

situations involving barricaded, suicidal subjects who are not posing an imminent risk of harm

to anyone except themselves. The protocol will have the goal of protecting the safety of officers

and suicidal subjects while providing suicidal subjects with access to mental health services”

(Doc. 354-1, First Amended and Restated Court-Approved Settlement Agreement, pg. 51). APD

has acknowledged that the previous policy was in need of revision and the revised policy was

presented to the Office of Policy Analysis (OPA) on August 9, 2018, and will continue through

the policy development process. APD will revise training and training evaluation protocols to

reflect the revisions. To better reflect the APD personnel responsible to meet the requirements

within paragraph 131, APD changed project leads for paragraph 131 to the Special Operations

Division Commander.

   D) Crisis Prevention (Paragraphs 132-137)

   There were two recommendations for paragraph 136. The first recommendation reads that,

“APD should ensure that COAST and CIU personnel track incident report involving their

personnel for indications of recurring issues and problems that may be addressed by referral of

clients to community health resources” (IMR-6, pg. 274). The second recommendations reads,


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“once these opportunities are identified, train COAST and CIU personnel to implement, where

appropriate referrals to outreach, service delivery, crisis prevention, and referrals to community

health resources” (IMR-6, pg. 274). APD has responded with COAST personnel conducting

and documenting various outreach endeavors on a weekly basis. COAST personnel also work in

conjunction with Road Runner Food Bank for food baskets and attend outreach where they

obtain information about additional resources.

   Lastly, the IMT recommends for paragraph 137, “Collect, analyze, interpret and memorialize

the data elements above on a routine basis, and produce reports circulated to CIU and COAST

personnel, through the chain of command, and eventually to the public via APD’s web-site”

(IMR-6, pg. 275). APD has taken the recommendation, has been analyzing data, and has been

circulating that data analysis through CIU, COAST and chain of command personnel. In

addition, those data are presented to MHRAC and the community in the quarterly CIU Data

Book. The CIU Data Book released in June 2018 can be located at http://www.cabq.gov/mental-

health-response-advisory-committee/documents/albuquerque-police-Department-crisis-

intervention-unit-data-book-june-15-2018.pdf.

   August 15-17, 2018, CIU attended the CIT International Conference and hosted four (4)

workshops during the conference. In addition, four (4) CIU detectives attended the CIT

International Conference, CIT Coordinator course. The four detectives are now certified CIT

Coordinators and considered instrumental in the development of effective CIT programs.

   CASA Area 4: Policies and Training Generally (Paragraphs 138-161)

   A) Policy Development, Review and Implementation (Paragraphs 138-148)

   As mentioned in APD’s previous progress report, Standard Operating Procedure (SOP) 3-52,


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Policy Development Process, had been the “subject of considerable discussion” (Sixth APD

Progress Report, pg. 8). The previous progress report can be located at

http://www.cabq.gov/police/documents/sixth-apd-progress-report-with-appendices.pdf. The

concern was the inclusion and level of inclusion of the Police Oversight Board (POB) in the

process. In January 2018, APD recognized the need for continued policy development process

improvement. APD worked closely with the Independent Monitor (IM), Department of Justice

(DOJ), members of the POB and CPOA and Amici groups to revise the policy. The SOP 3-52

policy has been operational since April 24, 2018.

   The Office of Policy Analysis (OPA) reconvened on May 10, 2018, with both new and

existing members. At the end of this reporting period, July 31, 2018, twenty-one (21) policies

have started the process and two (2) have completed the entire policy development process, to

include IMT approval when needed, and have been published. APD has followed SOP 3-52 and

ensured notice and an opportunity to be heard by the Police Oversight Board (POB) Policy

Subcommittee, the public, and stakeholders.

       In an effort to engage external stakeholders with an emphasis on policy development

participation and commentary, APD has conducted several outreach presentations on the policy

development process. A few examples of APD outreach are:

              Northeast Community Policing Council on June 12, 2018;

              POB meeting on June 14, 2018;

              APD personnel forums on June 20, 21, and 27, 2018;

              Valley Community Policing Council on June 28, 2018; and

              Mental Health Response Advisory Committee (MHRAC) on June 19, 2018.


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        As of July 31, 2018, the Albuquerque Police Department had one hundred ninety-four

(194) Standard Operating Procedure (SOP) manuals ranging from General, Procedural and

Administrative Orders as well as individual Division, Section and Unit SOPs. Policy numbers

will change as APD continues to review policies, develop new policies, and consolidate others.

The Implementation Unit has one full-time employee dedicated to policy and two additional

Temporary Duty employees to assist with the policy effort.

        During this reporting period, four of the six Use of Force policies were presented to the

Office of Policy Analysis and are progressing through the policy development process as

outlined in SOP 3-52. The Office of Policy Analysis (OPA) is working diligently to review

policies. This effort is ongoing and faces its own challenges. Due to the large volume of SOPs

requiring review, OPA meets weekly and will continue to do so until the majority of policies are

reviewed and approved pursuant to SOP 3-52 Policy Development Process.

        Independent Monitor Reports 5 and 6 referenced several Special Orders posted on

PowerDMS addressing critical CASA-related processes, directly affecting critical elements of

the CASA. In IMR-6, the Monitor requested to be copied on all proposed CASA-related Special

Orders. As a result, APD established a new process to review and approve Special Orders.

APD’s Compliance Section created a Special Order coversheet requiring review and approval by

the Compliance Section Lieutenant, City Legal, the Chief of Police and the IM prior to posting

on PowerDMS. The new Special Order approval process is available to personnel on APD’s

intranet.

        The creation of a Compliance Bureau has allowed for a standardized and structured

approach when working with the IMT. APD is in the process of conducting a Department-wide

check of Special Orders. The Special Order process is one example of the improved oversight of


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CASA related directives.

    B. Training on Revised Policies, Procedures and Practices (Paragraphs 149-154); C. Field

    Training Officers Program (Paragraphs 155-161)

        The APD Training Academy has developed and implemented the 7-step Training Process

for all training within APD. The 7-steps include: (1) Needs Assessment, (2) Curriculum

Development, (3) Oversight/Approval, (4) Delivery, (5) Operational Application, (6) Evaluation,

and (7) Revision. The goals of this approach are to have standardized training plans Department-

wide and to house all training plans with the APD Training Academy. Documentation of

training requires that all steps of the training process generate sufficient records to ensure that the

Department is able to reproduce its process in planning, developing, delivering, and evaluating

training.

        During this reporting period, many APD Divisions, working closely with the APD

Training Academy’s Comprehensive Training Unit (CTU), are in the process of transferring their

division, section, or unit-specific training plans into the standardized 7-step process. The 7-step

process can be lengthy as the Department transitions into this type of training plan development.

        The APD Training Academy is transitioning to a learning management system that will

assist in activities surrounding the Academy’s mission and goals. There have been numerous

setbacks with the current system; however, the Training Academy is committed to implementing

a tracking system with the capacity to schedule training; store Department-wide training plans to

better collect and analyze data; and monitor implementation and evaluate outcomes. For the

time being, the Training Academy developed a training schedule to assist in planning, timeline

development and effective utilization of personnel.

        APD has been working closely with the Central New Mexico (CNM) Community

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College to establish a partnership for training specific courses such as mandatory annual training

and supervisor training. This collaboration has led to a satellite affiliation for the APD Basic

Training Academy, currently awaiting the New Mexico Law Enforcement Academy Board

approval. Another collaborative idea is to assist with online training for APD personnel, which

could result in a reduction of overtime expenditures. In order to learn, improve and excel at the

instructional levels, CNM professors will monitor APD instructors and provide valuable

feedback.

       Personnel from the Training Academy have been active participants in the Use of Force

policy suite revisions to ensure training aspects have been considered during the redrafting. This

is a major improvement from the past when the Training Academy was left out of the policy

development process.

       During this reporting period, APD conducted one modified Citizen’s Police Academy

(CPA) specifically for the Civilian Police Oversight Agency (CPOA), Police Oversight Board

(POB) and Community Policing Council (CPC) members. A standardized CPA begins on

August 28, 2018.

       During this reporting period, the Training Academy restructured and reestablished the

Training Committee. The Training Committee is responsible for evaluating, coordinating and

overseeing all in-service and advanced training programs components for the needs assessment,

the assessment and the review stages. Training Committee provides guidance to the Training

Academy based on statistical analysis, trends and training recommendations in order to ensure

that the Academy can effectively meet the training needs of the Department. The Committee will

collect information from sources both within the Department and from outside stakeholders.

While the Academy directly addresses training of personnel that is required by the State or


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supervisory personnel, the Committee will identify immediate training needs as well as monitor

long-term trends in order to address emerging and existing patterns that are contrary to best

practices or the law. All preliminary Committee proposals have been developed in conjunction

with monitor feedback.

 In February 2018, fifteen (15) officers attended the 40-hour Basic Field Training Officer (FTO)

class. In March, 2018, APD held a FTO selection process and five (5) of the seven (7) applicants

were accepted into the Field Training and Evaluation Program (FTEP). In March 2018, an APD

lateral academy class started On-The-Job (OJT) training with three (3) OJT recruits and in May

2018, all three lateral recruit officers completed OJT. Between April and June 2018, all forty-

one (41) recruit officers on OJT from the 118th cadet class successfully complete OJT. In May

2018, APD held a FTEP recertification class with seven (7) in attendance and recertified. APD

held another 40-hour Basic FTO class in May 2018 with six (6) officers and one (1) Crime Scene

Specialist. In June 2018, eighteen (18) academy graduates from the 119th cadet class started OJT

and continue at the time of this report.

 As of April 2018, the FTEP had the largest number of FTOs in the program’s history with

seventy-six (76). However, as a result of training fatigue (with 44 on OJT at one time) and

openings with other units within the department, there are currently fifty-two (52) Field Training

Officers. In order to sustain a sufficient number of FTOs per paragraph 161, APD submitted a

request to amend paragraph 157 of the CASA and have proposed a new incentive package for

FTOs:


       February 7: Amendment request to the CASA was submitted; and

       July 12: A memo requesting improved incentive package was submitted and awaiting

        results.

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 CASA Area 5: Misconduct Complaint Intake, Investigation and Adjudication (Paragraphs

 162-202)

A) Reporting Misconduct (¶ 163); B) Public Information on Civilian Complaints (¶ 164-168); C)

Complaint Intake, Classification, and Tracking (¶ 169-182); D) Investigations of Complaints

(¶ 183-194); E) Preventing Retaliation (¶ 195-197); F) Staffing and Training Requirements

(¶ 198-200); G) Discipline Process and Transparency (¶ 201-202)

   As stated earlier in this progress report, the Internal Affairs Division was divided into two

separate divisions; the Internal Affairs - Misconduct Division and Internal Affairs - Force

Division. This section will focus on progress made within the Internal Affairs - Misconduct

Division since the information related to Internal Affairs - Force Division was covered earlier in

this report. The two Divisions work closely with each other. During this reporting period, IA-

Misconduct personnel conducted misconduct investigations training for members of the new IA -

Force Division.

   IA - Misconduct Division does not currently have a Program Data Analyst to conduct

necessary data and trend analysis. During this reporting period, APD prioritized staffing in order

to hire a Program Data Analyst to assist in these efforts. The analyst position has been opened,

advertised and is pending hire.

   The Internal Affairs (IA) - Misconduct Division is responsible for the misconduct intake

process, investigation and adjudication for cases not referred to the Citizen’s Police Oversight

Agency (CPOA). Many of the paragraphs throughout this section include the operations of

APD’s IA – Misconduct Division and the separate operations of the CPOA. CPOA operates as

an independent and separate entity from APD. For this report, APD chose to discuss all CPOA-


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related paragraphs in one section for easier reading and understanding. CPOA progress and

requirements will be covered in the section on Community Engagement and Oversight.

   During this reporting period, IA - Misconduct Division personnel have started creating an

Internal Affairs training plan with guidance from the Training Academy. IA Misconduct will

follow the Training Academy’s 7-step process. The IMT will vet and approve the training plan

prior to conducting training, meeting CASA requirements.

   IA – Misconduct Division, in response to IMT recommendations throughout this section’s

paragraphs, are reevaluating policies. For paragraphs 183 and 184, the IMT recommends that

APD, “Revise appropriate policies to reflect the use of ACMs [Additional Concern Memoranda]

within the IA ‘outcomes’ definitions and train personnel accordingly” (IMR-6, pg. 310). ACMs

are the current APD documentation and practice that, “arises out of supervisory reviews…where

there is no other corresponding policy violation.” (IMR-6, pg. 310). The IMT has raised

concerns surrounding ACMs, from data collection and tracking of violations within the ACMs to

the usability of the memorandums. APD agreed with these concerns. With the assistance and

guidance of the IMT, APD is reevaluating the overall process. Once policies are revised,

training plans will be developed following the Training Academy’s 7-step process. Once the

policies are approved, training will be conducted.

   For paragraph 191, the Monitor provided three recommendations surrounding case

assignment and investigative timelines. The recommendations explain the need for timelines and

if investigations are delayed due to unusual circumstances and extensions are necessary, “it

should be clearly set forth in an investigative timeline for supervisory review” (IMR-6, pg. 317).

The timelines also include the assignment process. Case assignments will not exceed 7 working



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days from the time the case is submitted. APD responded to these recommendations and the IA

– Misconduct Commander is not aware of any overdue case assignments or investigations.

   The Monitor provided seven (7) recommendations for paragraphs 201 and 202. The Monitor

stated, “We found APD to be out of compliance on three of eight cases relative to consistent and

fair discipline, for an 87 percent compliance rate. Relative to consistent application of

mitigating and aggravating factors, APD was out of compliance on two of their eight cases. This

constitutes a 75 percent compliance rate” (IMR-6, pg. 324). With the new administration, APD

is committed to fair and consistent discipline applied to sustained allegations.

   During this reporting period and in response to Monitor concerns, APD implemented the

Disciplinary Action Packet which is now included in each case. It identifies previous violations

of each sanction level, the timeline of those violations, and the specific violation of the

investigated case with a proposed sanction. The chain of command has to justify, in writing, any

deviation from the recommended discipline.

   One area that needs to be completed is creating a definitions page in the disciplinary matrix

that provides specific guidance on the appropriate sanction level when a sanction range is listed

within a policy.

 CASA Area 6: Staffing, Management, and Supervision (Paragraphs 203-231)

A) Staffing (Paragraph 204): B) Duties of Supervisors (Paragraphs 205-208), C) Supervisory

Training (Paragraph 209)

   During this reporting period, APD has continued to “assess the appropriate number of

personnel to perform the different Department functions to fulfill its mission” (Doc. 354-1, First

Amended and Restated Court-Approved Settlement Agreement, pg. 70). Several divisions,

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including but not limited to the Training Academy, the Compliance Division, and the Internal

Affairs- Force Division have completed staffing assessments and are working towards improving

staffing levels to meet the needs within the divisions.

   APD continues to meet requirements for first line supervision and the 8:1 supervisory ratio

(eight Officers to one Sergeant or other first line supervisor). APD maintains documentation of

personnel assigned under any one Sergeant or other first line supervisor, especially for the Field

Services Bureau. As a Department, APD maintains the 8:1 ratio with the exception for areas

where the 8:1 ratio does not apply. There are exception units, such as the Crisis Intervention

Unit, that go beyond that ratio. However, APD measures task complexity and determines span

of control to identify those areas, which are few within the Department.

   APD shifted project leads for these paragraphs in order to dedicate more time and effort

towards supervision. During this reporting period, much of the time spent was focused on

paragraphs 205 and 208. Previous IMR’s identified each paragraph as a deficiency within APD,

specifically surrounding Use of Force investigations and management oversight. According to

IMR-6, APD is in primary compliance for paragraph 205, and in secondary compliance for

paragraph 208.

   One of the recommendations from the Monitor was for APD to measure the impact on

conducted training. However, Use of Force policies are currently being revised and thus training

cannot be conducted until those policies are approved and training plans have been developed

and approved by the Monitor. Use of Force is major part of supervision and proper training on

the new policies will provide guidance and clarity for Sergeants and supervision as a whole.

APD does track and collect Use of Force data; however, the Department does not analyze or use

that data to effectively supervise and manage.

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   During this reporting period, APD has been researching national best practices. APD has

been identifying supervisory deficiencies through past IMR’s, by conducting interviews of

supervisors at every level for a clear understanding of their concerns, by requesting supervisory

expectations from different divisions within the Department, and by conducting focus group

meetings for open discussion, in order to plan a way forward for supervision.

   APD has drafted a problem-solving document, P.I.N.S. (Problems, Issues, Needs and

Solutions) in order to address major issues affecting the success of these paragraphs. One issue

identified is the need for APD to require monthly Sergeant and first-line supervisor reporting in

order for Lieutenants and Commanders to track and evaluate supervisory Use of Force

investigations and other requirements. The current reporting process misses important aspects to

effective supervision from the Sergeant level to the Commander level. Several goals and

timelines have been and are being developed to improve the current process while creating a

long-term plan that is cost-effect, beneficial and user-friendly.

   During the reporting period of first line supervision training as required in paragraph 209,

thirty-nine (39) Officers attended the Acting Sergeant class, March 19-23, 2018. Although the

paragraph states Sergeants, APD wants to ensure that Officers put into an Acting Sergeant

position; therefore, a first line supervisor, receives training in order to perform the duties and

responsibilities of a Sergeant. APD is undergoing a promotional process for the rank of Sergeant

and will conduct training when the process is finalized with those personnel selected.

   D) Early Intervention System (Paragraphs 212-219)

   During this reporting period, APD took a major step towards improving the Early

Intervention System, also called the Early Intervention and Recognition System (EIRS). APD


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assigned a full-time EIRS Lieutenant to the Internal Affairs – Misconduct Division, which is

responsible for EIRS. The EIRS Lieutenant has made a lot of progress in this area, which

required a complete program reevaluation and reorganization.

   The EIRS program is changing to a data-driven system with thresholds supported by data

analysis and research. The EIRS is intended to become a system that promotes early

identification of potential problems, recognition of superior performance and standardized

documentation of actions taken. This program needs to identify the positive and negative trends

in equipment, training, policy and/or personnel. The new system will incorporate levels of

assessment and use standard deviation to determine thresholds. There will be seven (7) broad

data points to track:


          Use of Force;

          Complaints against an Officers;

          Vehicle crashes;

          Vehicle pursuits;

          Training/Certifications;

          Court-related Issues; and

          Personnel Management

   During the reporting period, the EIRS Lieutenant developed a process for improving the

program. One of the changes was simply to the name, from the Early Intervention System to the

Personnel Management, Education and Development System (PMED). A presentation was

made to the Compliance Bureau Deputy Chief and staff, updating the division on the new plan

moving forward. Once approval was granted from the Deputy Chief, a presentation was made to


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the Chief and his staff on August 7, 2018. The program was approved to move forward. The

Personnel Management, Education and Development System pamphlet is in the appendix.

   One of the recommendations for EIRS, is for APD to develop, incorporate and train

personnel on an effective policy. The EIRS, now PMED, revised policy has been drafted and is

waiting to be scheduled for the Office of Policy Analysis and will continue through the SOP 3-52

policy development process. The PMED Lieutenant has identified the need to have standardized

formats with issues such as Performance Improvement Plans and will be attending training for

Performance Improvement Plan training on August 23, 2018. A training plan will be developed

following the Training Academy’s 7-step process. In addition, APD will develop a training plan

on the revised policy, also using the Training Academy’s 7-step process.

   The PMED Lieutenant has worked in collaboration with a local business, Resilient Solutions

21, to develop concepts for data-driven analytics. The goal is to identify trends and patterns to

alert supervision and management, who will address the issue(s) with the hope of mitigating risk

of excessive Use of Force, excessive auto crashes, or other negative outcomes in the future.

   E) On-Body Recording Systems for Documenting Police Activities (Paragraphs 220-231)
   In December 2017, APD completed the deployment of the newly purchased Axon on-body

camera system or the On-Body Recording Device (OBRD). APD initially trained 930 sworn and

civilian personnel on the OBRD.

   In March 2018, APD changed project the lead for On-Body Recording Device (OBRD)

related paragraphs from a Detective to a Lieutenant. The project lead added personnel to assist

with the OBRD program; helping with policy, equipment and training responsibilities. The new

OBRD team members received Basic Instruction Training certification through the New Mexico



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Department of Public Safety. This certification allows them to instruct OBRD related material.

In June 2018, those OBRD team members received Axon certification in camera operations and

troubleshooting.

   APD researched best practices policies from police Departments in similar compliance

agreements including Seattle Police Department, Cleveland Division of Police, New Orleans

Police Department; as well as from Denver Police Department and Houston Police Department,

which are not in such agreements. During the June 2018 site visit, the Monitor recommended

that APD continue to revise policy, accurately reflecting the expectations of the CASA. APD

has addressed those recommendations in the revised, draft policy for OBRD. The policy is in the

policy development process.

   APD has developed a camera shortage. On June 8, 2018, APD received a quote for the

purchase of 255 additional camera systems. In the meantime, APD made adjustments for this

shortage to include taking back additional cameras from non-essential, sworn personnel and

reassigning the cameras to essential, sworn personnel in the Field Services Bureau.

   Paragraph 220 states that APD will review OBRD recordings regularly and paragraph 224

states that supervisors will ensure camera usage per policy. APD is developing a process to

identify types of videos to watch to ensure camera usage per policy from paragraph 224.

Additionally, APD’s current policy states that APD supervisors will, “review at least two videos

per month of each Officers under their direct supervision. Sergeants should spend approximately

7-10 minutes reviewing each video” (APD Procedural Use of On-Body Recording Devices SOP

2-8(F)(2)(e)). The Monitor recommended that if APD supervision is going to review a video, the

video should be watched in its entirety. APD agrees with this recommendation and this change

is being added into the revised policy during the policy’s annual review.

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   There was one recommendation stemming from IMR-6 surrounded APD disseminating a

Special Order, without Monitor approval, changing the requirements of supervisory video

reviews, from two videos per month, per Officer to two videos per month, per squad. This

Special Order was rescinded and APD reverted to the original policy requirements. It should be

noted that Special Orders affecting the CASA must be reviewed and approved by the Monitor to

ensure that changes reflect the CASA.

   For paragraph 223, a recommendation stated, “APD should conduct an immediate, thorough

and complete audit protocol relative to proper testing and functioning of OBRD equipment”

(IMR-6, pg. 348). APD has worked closely with Axon that advised cameras are checked every

time it is plugged into the docking station to ensure the firmware is up to date and working

properly. This firmware download and update cannot occur if the camera is not functioning

properly according to Axon. There is a multistep process for the Axon camera to properly

function. If one of these steps is missed, the camera will not work. APD has attached a sticker

on each docking station that tells which lights correspond to different functions of the camera.

   Upon policy approval, the three (3) OBRD and Basic Instructor trained personnel will meet

the Monitor recommendation for paragraph 225 and train all supervisors on the new policy.

With three available trainers versus one, APD will be able to provide more training opportunities

for supervisors.

   Paragraph 227 discusses the need to ensure that videos are properly classified and accessible,

according to the type of incident in the footage. The Monitor made three (3) recommendations

for this paragraph:




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      “Identifying training elements specific to this paragraph’s requirements and assess

       whether the training was delivered in a clear manner;

      Design remedial training, counseling, or discipline if required to directly affect the

       observed in-field supervisory under performance; and

      Once the remedial training, counseling, or discipline is implemented, close the loop by

       re-evaluating performance in the field. Repeat until under-performance is eliminated”

       (IMR-6, pg. 352).

   APD understood these recommendations and made improvements based off them.

Supervisors are responsible for completing the monthly video inspection form. When evaluating

this process, APD discovered that when supervisors entered the data in the monthly video

inspection form, they were allowed to skip certain fields and continue with completing the form.

This resulted in inaccurate data collection and reporting. Since identifying this issue, APD

corrected those fields, which are now mandatory fields to complete before continuing.

   The Monitor recommended APD put into place auditing protocols responsive to paragraphs

228, 229 and 230. The goal for these types of audits are to identify issues, including but not

limited to, intentional or unjustified failures to activate OBRD required by policy. As stated

earlier in this progress report, the APD Compliance Division has an audit unit called the

Performance Metrics Unit. This unit is responsible for audit and assessment functions

Department-wide. The unit audits programs in accordance with and based upon policy. OBRD

is one of the CASA-related sections scheduled for auditing.

   Additionally, supervisors are responsible for identifying any policy violations or

discrepancies when completing the monthly video inspection form for each officer. APD is also

currently issuing two cameras per Field Services Bureau and Tactical assigned officers, so one
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can be placed in a docking station to download and recharge while the other one is being used for

field use. Additional cameras are in the purchasing process (255) to ensure that all Officers have

two.

   Previously, APD utilized several different camera platforms, which were difficult to manage,

control and oversee. Currently, per APD policy, personnel are only authorized to wear

Department-issued OBRD. There is currently only one platform, Axon, being used Department-

wide, meeting national best practices.

   CASA Area 7: Recruitment, Selection and Promotions (Paragraphs 232-246)

   A) Recruitment Plan (Paragraphs 233-235): and B) Hiring Practices (Paragraphs 236-240)

   During this reporting period, the University of New Mexico (UNM) worked in collaboration

with APD to develop a comprehensive recruiting plan, named the Albuquerque Police

Department 2017 Annual Report and 2018 Strategic Recruitment Plan. This document is in the

appendix. This report details the results of the 2017 recruiting plan, listing a review of past

strategies, goals/objectives and plans to attract a diverse pool of applicants, and explains the

2018 strategic recruitment plan.

   The APD Training Academy has continued to promote APD via web-based applications with

expanded emphasis on minority group sites, such as

http://www.thecauseinteractive.com/lawenforcecareer.html. In addition, APD continues to

recruit in Military and University communities. APD has regular contact with the Southern

Christian Leadership Council board members. APD has expanded its efforts with the High

School “Career Enhancement Center” in an effort to recruit students into the Public Service Aide




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(PSA) program, and furthered efforts to develop processes to transition from PSA into Police

Officers.

    In addition to the initial APD test focusing on related skills questions, the background

questionnaires for both a candidate’s former employers and personal references contain

questions related to the required skills and abilities.

    The APD Recruiting Unit has increased staffing to include one Recruiting Sergeant and five

(5) civilian personnel to assist in the recruiting efforts.

    APD continues to assess progress status in recruiting and selection processes in a variety of

ways. APD has continuously documented attendance of many diverse community group events

including military, faith-based, educational, and sports-related.

    In addition, APD utilizes unidentified online application process wherein an applicant can

remain completely anonymous until they arrive for testing. This process removes any possible

bias and simply forwards the answers to the questions to the background officer for review.

    APD will continue to foster relationships with community stakeholders like the UNM

Athletic Recruiting personnel to discuss their recruiting plan and actions in the event APD can

utilize the same tactics to recruit highly qualified individuals. Through this discussion with

UNM Athletics, the Department hopes to foster a relationship where UNM recruiters will

recommend their athletes and students to APD. Furthermore, APD personnel have met with a

KRQE Integrated Digital Specialist to discuss social media recruiting tools and are awaiting a

written proposal.

    In an effort to strengthen the process of screening applicants, APD created an automated

system for generating chief selection reports, which will transcribe information available via the

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applicant’s interest card automatically to a chief report from the apdonline administrative site.

This will alleviate the need of recreating information already available and provide a uniform

report amongst all background personnel. The system has rules in place requiring information be

provided to ensure all avenues of a background are encompassed in the report.

   The APD Background Unit will continue to complete thorough and objective backgrounds of

applicants and continue to look for ways to streamline the process without compromising the

integrity of the background. APD has recently begun testing applicants on weekdays, separate of

weekend testing dates to accommodate applicant schedules. Additionally, APD has added two

(2) civilian Background Unit personnel to assist in processing of applicants.

C) Promotions (Paragraphs 241-243)

   During this reporting period, APD completed a Lieutenant promotional process. Eighteen

(18) Sergeants passed the Lieutenant promotional process. To date, eleven (11) of the eighteen

(18) have been promoted to the rank of Lieutenant. On July 20, 2018, APD announced a

Sergeant promotional process. The written exam was held on August 29, 2018. The written

exam is the first portion of the promotional process.

   To meet the requirements within paragraph 246, the performance evaluations policy is in the

process of being revised to ensure that the all supervisors are completing the performance

management evaluations, completed quarterly and annually, in an accurate and timely fashion.

The revised policy is scheduled to be heard at the Office of Policy Analysis on September 6,

2018. The revision covers the following:


      Sanctions for failing to complete evaluations in a timely manner;




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      Responsibility for performance documents if personnel are transferred, on light duty, etc.;

       and

      Procedures to ensure the personnel assigned to each supervisor is accurate.

D) Performance Evaluations (Paragraphs 244-246)

  APD uses a performance management tool to conduct personnel work performance

evaluations. The third quarter evaluations, also called checkpoints, were due in March 2018.

There were 27 missed deadlines during this checkpoint with an overall compliance rate of 96%

for sworn personnel.

 In addition, APD supervision had to complete annual evaluations by June 30, 2018. The

project lead sent weekly emails during the month prior to the due date in an effort to remind

supervisors to complete the evaluations. The emails included job aides and helpful tips. In

addition to the reminders, excel spreadsheets were provided listing personnel who had not yet

completed their checkpoint.

 Forty-three (43) of the eight hundred and forty-two (842) sworn supervisors did not complete

the evaluation by the June 30, 2018, deadline. Twelve (12) of the forty-three (43) documents

were submitted for approval by the direct supervisor; however, they were not approved by the

next line supervisor. The compliance rate for sworn personnel was 94.89% for the annual

complete manager evaluation.

 Although the current program is currently in full compliance, in an effort to achieve

operational excellence, and to maximize the potential of the personnel, the department is

expanding the current program. APD is reviewing the circumstances as to why evaluations were

not completed on time and analyzing the information to prevent the same issues from

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reoccurring. APD has identified a supervisory training need and will develop training to ensure

that supervisors are properly trained on the quarterly and the much lengthier, annual process.

The training plan will follow the Training Academy’s 7-step process.

 CASA Area 8: Officers Assistance and Support (Paragraphs 247-253)

   During the reporting period, the Behavioral Sciences Section (BSS), with guidance from the

Monitor, conducted electronic surveys and provided post-training written evaluations. An

overview showed that trends are moving in the right direction, with more belief in the

confidentiality of the BSS Officers support program that assists in the requirements for

paragraph 250. These trends will be continuously reviewed by the Director, the Unit, and during

the next, and all, semi-annual meetings to meet with requirements within paragraph 247.

   During this reporting period, APD’s Peer Support (paragraph 248) members attended the

following trainings:


          Spiritual & Psychological First Aid from the International Critical Incident Stress

           Foundation, on May 1 – 2, 2018; and

          Grief Following Trauma from the International Critical Incident Stress Foundation,

           on May 3 – 4, 2018.

   During the January 2018 site visit, the Monitor recommended APD consider conducting a

survey to receive feedback on the knowledge and trust of the program. APD agreed with that

recommendation, creating a survey for both sworn and civilian personnel and sent out the survey

in April 2018. Three-hundred eighty-one (381) people responded to the survey. Personnel

responded with positive feedback about the program. APD also learned about areas to improve

upon such educating and communicating the program’s accessibility and functions.

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   APD has thirty (30) Peer Support members in the program and advertised for more

membership in July 2018. APD expanded Peer Support membership on July 12, 2018, by

selecting twenty-five (25) new members. New personnel will be attending training on

September 6-7, 2018, Assisting Individuals in Crisis from the International Critical Incident

Stress Foundation prior to becoming active members.

   On May 24, 2018, the Peer Support handbook became a useable guide to Peer Support. APD

Peer Support board membership, the Mental Health Response Advisory Committee (MHRAC)

and the Monitor vetted and approved the handbook.

   To meet with requirements within paragraphs 249, 251 and 253, BSS will continue to

conduct in-services trainings. During the reporting period, BSS personnel conducted a series of

in-person trainings at various hours and in various Area Commands to assure that as many

people in supervisory roles within the chain of command were trained as possible. An additional

mandatory, online training was presented on APD’s online platform. Resource referral

information continues to be available to personnel for officer and employee assistance.

   CASA Area 9: Community Engagement and Oversight (Paragraphs 254-293)

   A) Community and Problem-Oriented Policing (Paragraphs 255-259)

   During the June 2018 site visit, the Monitor met with the paragraph project leads and other

members of the APD to discuss progress on Community and Problem-Oriented Policing

(COP/POP). From the meeting and IMT recommendation for paragraph 255, personnel

responsible for COP/POP have created a working group to strengthen the APD mission and

vision statement to incorporate community input to match the goals of the Department. This

group is comprised of APD executive staff, sworn rank and file, civilian staff, and community


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stakeholders. The goal is to draft a mission statement that highlights community-oriented

policing in addition to community expectation of their police Department.

   The Policing and Community Together (PACT) team is being renamed to the Problem

Response Team (PRT). This change is in draft form at this point and APD will continue to work

in the proposed approach. Through this new approach, APD is working towards strengthening

its approach to community policing and community outreach.

   One of the other points of IMT and APD discussion was proper documentation for the

attendance of community meetings by APD personnel. In IMR-6, the IMT recommends, “APD

should continuously focus on mechanisms to take issues identified through its community-based

systems such as the CPCs and move those issues through internal processes to ensure that

community opinions, needs, and critical issues are reflected in patrol plans, organizational

priorities, and programmatic planning” (IMR-6, pg. 372). APD completes a standardized,

electronic form after every attended community meeting. Officers also log with a specific code

to identify a community meeting (10-75-1). This will allow for improved data collection, data

analysis and verification of attendance, helping to meet the requirements within paragraphs 255

and 259.

   APD held two (2) summer youth group camps called Camp Fearless. The informational

pamphlet on Camp Fearless can be found at https://www.cabq.gov/police/programs/summer-

camp-fearless.


      Camp Fearless Westside was held June 12-15, 2018. Camp Fearless Westside was

       hosted at Valley High School. There were 40 kids in attendance and on June 15, 2018,

       APD held a graduation with certificates signed by APD Chief Geier.


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      Camp Fearless Eastside was held July 10-13, 2018. Camp Fearless Eastside was hosted

       at the Boys and Girls Club in the Northeast Area Command. There were 38 kids (Two

       registered kids did not show up) in attendance and on July 13, 2018, APD held a

       graduation with certificates signed by APD Chief Geier.

   Paragraph 256 states “APD shall realign its staffing allocations and deployment, as

indicated, and review its recruitment and hiring goals to ensure they support community and

problem-oriented policing” (Doc. 354-1, First Amended and Restated Court-Approved

Settlement Agreement, pg. 83). The Policing and Community Together (PACT) team is being

renamed to Problem Response Team (PRT). This change is in draft form at this point and APD

will continue to work in the proposed approach to meet the requirements within this paragraph.

The proposed approach will be guided not only by the CASA, but the IMT recommendations.

   APD does track and provide to the IMT bid packets to meet the requirements of paragraph

257. Bid packets are provided to officers when they start a new Field Services Bureau field

officer assignment. Packets are provided to, “ensure that officers are familiar with the

geographic areas they serve, including their issues, problems, and community leaders; engage in

problem identification and solving activities with the community members around the

community’s priorities; and work proactively with other city Departments to address quality-of-

life issues” (Doc. 354-1, First Amended and Restated Court-Approved Settlement Agreement,

pg. 374). Bid packets include, a signature page, a beat and boundary map of the Area Command,

a list of community leaders and neighborhood association contacts, City Councilor names and

district boundaries, and the Bernalillo County commission districts. The bid packet also

includes, Area Command POP projects, tactical operation form, Officers information form,




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monthly vehicle inspection form, line inspection form, emergency notification contact, and

identified Area Command Community Policing Council (CPC).

   APD received recommendations for paragraph 257 from the Monitor, identify, document,

and describe other City Departments actively involved the community policing partnerships with

the Albuquerque Police Department.

   APD wants to improve upon the current community policing training curriculum, including

the 16-hour CASA-mandated training. The training plan is being revised for all levels of

personnel who receive the training, following the Training Academy’s 7-step process. This

includes cadet basic training and in-service training to embrace and integrate the community

policing principles in everyday interactions with community members, stakeholders, community

partners, and other law enforcement entities.

   B) Community Meetings and Public Information (Paragraphs 260-265); and C) Community

   Policing Councils (Paragraphs 266-270)

   During the reporting period, APD hired a new Community Outreach Manager and a

Community Policing Council (CPC) Administrative Assistant to work with each of the six (6)

CPC groups, one for every Area Command throughout the city. APD has continued to maintain

the website and host events like “Coffee with a Cop” and “Fast and the Fuzz”. APD held the

following events:


          Coffee with a Cop on March 8, 2018 at Starbucks located 4301 San Mateo Blvd NE,

           in the Northeast Area Command;

          Coffee with a Cop on March 13, 2018 at the Church of Scientology located at 1509

           San Pedro NE, in the Southeast Area Command;

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          Coffee with a Cop on March 23, 2018 at La Cueva High School located at 7801

           Wilshire Ave NE, in the Northeast Area Command;

          “Beeping Easter Egg Hunt” by the APD Bomb Squad on March 31, 2018 at the

           Korean War Veteran's Park located at 1700 Yale SE, in the Southeast Area

           Command;

          Pop with a Cop on April 10, 2018 at Sonic located at 6320 Central Ave SE, in the

           Southeast Area Command;

          Coffee with a Cop on April 25, 2018 at McDonalds located at 13301 Central SE, in

           the Foothills Area Command;

          Coffee with a Cop on April 25, 2018 at APD Southwest Area Command Substation

           located at 6404 Los Volcanes NW, in the Southwest Area Command;

          Coffee with a Cop on April 25, 2018 at Starbucks located at 4407 Lomas Blvd NE, in

           the Valley Area Command;

          Coffee with a Cop on May 24, 2018 at McDonalds located at 5900 Menaul Blvd NE,

           in the Northeast Area Command;

          Fast and the Fuzz on May 26, 2018 at APD Valley Area Command Substation located

           at 5408 2nd St NW, in the Valley Area Command;

          Coffee with a Cop on June 9,2018 at Donut Mart located at 3301 Coors NW, in the

           Northwest Area Command

   Each Area Command has a website to offer information sharing, community outreach and

updates on Area Command activities and hosts Officers Appreciate Day in their respective Area

Commands.




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   The six (6) CPCs continue to exceed the requirements within paragraph 261. The

requirement states that CPCs will meet on a semi-annual basis; however, each CPC meets

monthly.

   In response to paragraph 263, APD requires officers and supervisors assigned to Area

Commands to attend at least two (2) community meetings per year in their assigned geographic

area. Officers log with a specific code to identify a community meeting (10-75-1) and complete

a standardized, electronic form with information on the meeting, any needs identified and what

was done to address that need. The code and the electronic form allow for improved data

collection, data analysis and verification of attendance.

   APD posts the crime statistics by Area Command using a one-year comparison from January

1, 2017, through August 6, 2017, with the same timeframe for 2018. This information can be

found at, http://www.cabq.gov/police/area-commands.

   APD received a recommendation pertaining to paragraph 266; “APD should continue work to

broaden membership and participation by determining what factors are keeping ‘relevant

stakeholders’ from expressing their views at CPC meetings, and documenting attempts to

address those factors” (IMR-6, pg. 384). In response to that recommendation and for paragraph

267, APD has improved outreach through social media, electronic billboard advertising, attended

church services, met with APD Forward members, attended neighborhood association meetings

and neighborhood coalition meetings. The Office of Neighborhood Coordination (ONC) has

helped APD advertise the CPC meetings. The ONC, “helps create vibrant and thriving

neighborhoods in the City of Albuquerque” (https://www.cabq.gov/office-of-neighborhood-

coordination). APD posted the selection process for CPC membership on the webpage,



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http://www.cabq.gov/police/community-policing-council/requirements-to-serve-as-a-voting-

member.

   In response to paragraph 268 and along with IMT recommendation, APD has taken the lead

to ensure a comprehensive community policing approach is identified for each area command,

based on CPC interaction, participation, and comment. APD now provides note-taking

assistance and recently hired a full-time Administrative Assistant to help with posting items

(minutes, agendas, etc.) to and updating the webpage. With the Administrative Assistant

available, APD can assist with the recommendation for paragraph 270, “assign staff to develop a

more standard format for the CPC annual report and provide assistance to each CPC in

producing the annual report” (IMR-6, pg. 389). To date, all 2017 CPC annual reports have been

posted to the website. The annual reports can be found at

http://www.cabq.gov/police/community-policing-council/community-policing-councils-annual-

reports.

   During this reporting period, APD developed a process map to help streamline

recommendations submitted by the voting members. This allows for improved tracking from the

time of the recommendation to the result of the recommendation.

   D) Civilian Police Oversight Agency (Paragraphs 271-293), CPOA portion of Misconduct

   Complaint Intake, Investigation and Adjudication (Paragraphs 162-202)

   This portion of the progress report addresses the paragraphs in CASA Area 5: Misconduct,

Complaint Intake, Investigation and Adjudication, which are related to the Civilian Police

Oversight Agency (CPOA). Again, the CPOA is a separate and independent entity from APD

with a specific focus on civilian complaints on police personnel, reports of serious Uses of Force


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and officer-involved shootings. Based on IMR-6 reporting, paragraphs 271-280 remain in

operational compliance.

   During the reporting period, the CPOA developed a case intake, assignment process to

ensure cases are assigned for review and investigation within seven (7) working days to meet the

IMT recommendation for paragraph 281. In addition, the CPOA Executive Director ensures that

investigations conducted by his personnel are completed in a timely manner, will note any delays

and evaluate the reasons to the delay.

   The IMT provided recommendations for paragraphs 285 and 289. The recommendations

relate to the Chief of Police responding to the CPOA’s recommendations; from investigations

findings to policy recommendations from the CPOA to the APD Chief of Police. Since the IMR-

6 recommendation, APD has sworn in a new Chief of Police. The current Chief of Police and

the CPOA Executive Director have remedied this concern.

   CASA Area 10. Assessing Compliance (Paragraph 320)


   Paragraph 320 stipulates that the Monitor may conduct on-site visits and assessments without

prior notice to the City and that the Monitor shall have access to all necessary individuals,

facilities, and documents needed to assess compliance with the CASA. Furthermore, this

paragraph this states that APD will notify the Monitor of any critical firearms discharge, in-

custody death, or arrest of any Officers. The Monitor have judged this paragraph to be in full

primary, secondary, and operational compliance.

   CASA Outcome Assessments (Paragraph 298)
   Paragraph 298 is very different from the other measurable paragraphs in the CASA. This

paragraph focuses on all of the key outcomes of the CASA. Paragraph 298 is addressed in an


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annual report by itself rather than being rated in terms of compliance levels. During the

reporting period, APD made a number of efforts to strengthen its capacity to gather, report, and

use the outcome data identified in CASA paragraph 298. Paragraph 298 identifies the specific

categories of data that need to be gathered on nine (9) overarching outcomes including:


      Use of Force measurements;

      Specialized Units;

      Crisis intervention measures;

      Recruitment measurements, including number of highly qualified recruit candidates;

      Force investigations indicating a policy, training, or tactical deficiency;

      Training data;

      Officers assistance and support measurements;

      Supervision measurements, including initial identification of policy violations and;

      Civilian complaints, internal investigations, and discipline.

       In August of 2017, the Independent Monitor released the First 298 Report on the

Outcome Measures and Analysis of the Albuquerque Police Department’s Implementation of the

CASA. That report concluded that serious work needed to be completed on APD’s outcome data

system before that data system could be used to assess APD’s compliance processes.

       The First 298 Report on Outcome Measures also included thirteen (13) specific

recommendations for improving APD’s data system:


      “Remove all vestiges of obscured data from routine reporting processes;

      Identify critical process data points and report them in the same manner and process

       over time;


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   Carefully review and identify by means of a “serial number” all Uses of Force reported

    by APD personnel, including development of ad hoc “lessons learned” documents that

    can be used in future training for supervisors, Lieutenants and command-level Officers;

   Ensure that data included in APD reports pursuant to Paragraph 298 are reviewed for

    accuracy, completeness, and timeliness;

   Where the monitor has noted discrepancies or concerns, see for example the noted

    incongruity between known and reported firearms discharges in 2014, ensure that data

    collection, analysis and reporting are, in every instance accurate, clear and

    understandable.

   Explain reporting process in any instance in which it is not clear, i.e., APD should

    include a “methodology” section in each of the nine individual “298” topics and for

    each of the subsections of those nine topics.

   Generate quarterly Paragraph 298 progress reports in a data-rich format similar to the

    monitor’s reports that identify systems brought on line to comply with 298 requirements,

    e.g., policy, training, supervision, and oversight functions;

   Track results of those (item 7 above) systems’ impacts over time.

   Ensure that these quarterly reports are data-based, identify specific measurable goals

    and objectives, and report on progress toward meeting those goals and objectives.

   Implement an internal APD “Red Team” process to vet and assess the APD’s Paragraph

    298 process reports to ensure accuracy, timeliness, and veracity before the reports are

    provided to senior level staff and the monitor;

   Subject every 298 process report to a “lessons learned” analysis, and link that analysis

    to policy, training, supervision and remediation processes;


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   Consider the purpose and function of APD’s 298 data reporting function, and choose a

    format and process that matches purpose and function, e.g., a “lessons learned”

    component with recommendations for improvement in the reporting, review, and analysis

    of Use of Force designed to report more effectively, analyze more carefully, and build

    internal systems that learn and adapt;

   As with most data reporting from APD, there is very little analysis by the agency when it

    reports its data. Data simply are reported without noting trends, issues, problems or

    solutions. APD should consider developing summative, data-driven responses to issues

    noted in their aggregate data. We view this as a critical deficiency for all aspects of 298-

    reporting. Findings, assumptions, and recommendations should replace reporting of raw

    data in the APD’s data-driven reports. The most critical issue to answer is “why,” and

    APD has proven to be neither curious about, nor to collect data that will address that

    issue” (Doc. 295, pg. 39-40).

    In April of 2018, APD’s Compliance Bureau developed a three-phrase work plan to

respond to the Monitor’s concerns and recommendations to strengthen the Department’s

capacity to gather, analyze and use outcome data. Phase 1 consisted of convening a

Department-wide paragraph 298 work group and identifying specific individuals who were

responsible for outcome data in each of the nine areas listed above. These paragraph project

leads began by reviewing all IMR recommendations related to their outcome area. Next,

these project leads worked with the Compliance Bureau to develop carefully documented

excel spreadsheets that were submitted to the IMT by June 1, 2018.

    The Independent Monitor’s Second 298 Report on the Outcome Measures and Analysis

of the Albuquerque Police Department’s Implementation of the CASA was released on

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 August 1, 2018. This second report was much more positive about the accuracy and

 completeness of APD’s outcome data. The Monitor stated that “APD submitted data that

 was responsive, well organized, accessible, and analyzable. APD has taken a wholly new

 approach to data management since the advent of the new administration in December, 2017

 and provided the monitor with professional, well organized and documented data that we

 found to be accessible, useable and accurate, based on our analyses and our previous

 knowledge (garnered from our periodic monitor’s reports)” (Doc. 295, pg. 4). To be clear,

 APD recognizes that its outcome data system still has a long way to go.

     Based on the Independent Monitor’s positive response, APD has moved ahead with

 Phases 2 and 3 of the three-phase work plan. During Phase 2, the Compliance Bureau is

 working with each of the paragraph project leads to ensure that Paragraph 298 outcome data

 is accurate, complete and easily accessible as regular course of business documents. Phase 2

 began in June 1, 2018 and is scheduled to be completed by November 2018.        Phase 3

 consisted of implementing regularly scheduled data meeting with the APD Chief of Police

 and other command staff to ensure that data are used to become a data-driven police agency.

 During Phase 3, the Chief of Police, Deputy Chiefs of Police and other command staff will

 meet regularly to review the outcome data, make changes in practice and policy, and then use

 future data to evaluate the impact of those changes. It is important to note that Phase 2 and

 Phase 3 are iterative and overlapping processes.

III. Conclusion

     The information presented in this progress report emphasizes APD’s and the City of

 Albuquerque’s commitment to meeting the requirements of the CASA and to create a police

 department that is transparent and provides effective, high quality police services. APD

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     created a Compliance Division and charged it with the responsibilities of overseeing the

     compliance and reform efforts. The Compliance Division is being developed to help the

     Department become a self-monitoring agency after the CASA requirements are met and the

     DOJ and the IMT leave.

        The Monitor’s Sixth Report from November 2017 found that APD was in primary

     compliance with 97%; secondary compliance with 71%; and operational compliance with

     52% of the measurable CASA paragraphs. This progress report summarizes the efforts made

     during the reporting period from February 2018 through July 2018.

        In summary, APD and the City of Albuquerque are committed to meeting all of the

     requirements of the CASA. APD has a tremendous amount of work to be done and

     understands the importance of creating sustainable operations that will continue after the

     IMT and the DOJ are gone.

IV. Appendix

1.       Compliance Organizational Chart
2.      APD Audit Schedule 2018-2019
3.      February 1 – July 31, 2018 APD Compliance Plan
4.      Personnel Management, Education and Development System Guide
5.      Albuquerque Police Department 2017 Annual Report and 2018 Strategic Recruitment
        Plan




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                       APPENDIX 1:

COMPLIANCE ORGANIZATIONAL CHART
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                                                                                                                                                                                Admin.
                                                                                                                                Compliance                                      Assistant
                                                                                                                                Bureau
                                                                                                                                                                            S. Gallegos
                                                                                                                           DCOP E. Garcia



                                                      VACANCY


                                                                                                                                                               Compliance
                                                                                                                                                               Division
                                                                                                                                                        Cmdr. M. Campbell




                                                                               Compliance                                                                                              Performance
                                                                               Section                                                                                                 Review Section
                                                                          Lt. C. Lowe                                                                                             Lt. J. Perez




                                                                                                  Pe rformance                                                                             Pe rformance
                                     Implementation                                               Me trics Unit                                                                            Review Unit
                                     Unit Manager                                                 Manager
                                                                                                                                                                                 Sgt. VACANT
                            Jolene Luna                                                     Cara Garcia




                                                                                                                                                                                Jonathan L am bert            T BD
                                                            Kim Prince                                           January 2019 Opening
                                                                                                                                                                                 Forc e Detec tive        Video Revi ew
                                                            SOP Liaison                                              Senior Audi tor




                                                                                                                                                                                                              T BD
                               Julie Jaramillo                                               Sean Gassner                               January 2019 Opening
                                                                                                                                                                                Shannon Miera
                                                                                                                                                                                                          Video Revi ew
                                                                                                                                                                                Forc e Detec tive
                                     PIA                                                        Auditor                                    Program Analys t




                                                                                             Adam Garcia                                                                                                      T BD
                              Jessica Aceves                                                                                                                                    Charmaine Carter          Video Revi ew
                                    PIA                                                        Auditor                                                                           Forc e Detec tive




                                                                                                                                                                                                              T BD
                              July 2018 Opening                                              Vicki Durham                                                                                                 Video Revi ew
                                      PIA
                                                                                                Auditor




                              January 2019 Opening                                           July 2018 Opening
                                       PIA                                                         Auditor




                              July 2018 Opening                                             January 2019 Opening
                             Program D ata Analys t                                                Auditor




*PIA Process Improvement Analyst
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                       APPENDIX 2:

        APD AUDIT SCHEDULE 2018-2019
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                       APPENDIX 3:

           FEBRUARY 1 – JULY 31. 2018
            APD COMPLIANCE PLAN
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Area                                    Specific compliance issues to be                                                                                  Responsible (1                                                          Completed?
                                        addressed                        Specific actions to address compliance issues                                    person)                    Deadline Proof of Compliance/ Data Sources   1=Yes 0=No
1. Use of Force Investigation Backlog
                                        Review, Remediate and
                                                                         Internal Affairs (IA)-Force, Training Academy and other identified APD
                                        Decrease the Backlog of Field
                                                                         personnel will:
                                        Use of Force Investigations
                                                                         Define the scope of backlogged Use of Force (UoF) investigations and develop
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         a remediation plan to decrease this backlog
                                                                         Compile a list of backlogged UoF investigations to be addressed in the
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         remediation plan
                                                                         Prioritize backlogged UoF investigations to be reviewed using the remediation
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         plan
                                                                         Identify corresponding video with each UoF and its investigation, to include
                                                                                                                                                                                 5/7/2018     Memo                                             1
                                                                         identifying cases without video
                                                                         Develop a training plan, along with APD Training Academy personnel, to
                                                                         conduct reviews of backlogged UoF investigations                                                        5/11/2018    Training Plan                                    1
                                                                         Identify and assign personnel to the backlog review team, in temporary duty or
                                                                         collateral duty status, comprised of sworn personnel with investigative          Commander Robert       5/14/2018    Training Documents                               1
                                                                         backgrounds                                                                      Middleton (IA-Force)
                                                                         Deliver training to the backlog review team members and their supervision                               5/14/2018    Memo                                             1

                                                                         Conduct weekly review meetings with the backlog review team, Administrative
                                                                         Support Bureau Deputy Chief of Police, IA-Force Division Commander, IA-                                 On going     Meeting Minutes                                  1
                                                                         Force Division Lieutenant, the Compliance Bureau Deputy Chief of Police and
                                                                         the Compliance Division Lieutenant for case review and progress
                                                                         Develop a training plan, along with Training Academy personnel, for the
                                                                         backlog review team members and their responsibility to review UoF related                              5/11/2018    Training Plan                                    1
                                                                         videos
                                                                         Deliver video review function training to the backlog review team members and
                                                                         their supervision                                                                                       5/14/2018    Training Documents                               0

                                        Review, Remediate and
                                                                        Internal Affairs (IA), Training Academy and other identified APD
                                        Decrease the Backlog of Serious
                                                                        personnel will:
                                        Use of Force Investigations
                                                                         Define the scope of backlogged Use of Force (UoF) investigations and develop
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         a remediation plan to decrease this backlog
                                                                         Compile a list of backlogged UoF investigations to be addressed in the
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         remediation plan
                                                                         Prioritize backlogged UoF investigations to be reviewed using the remediation
                                                                                                                                                                                 5/7/2018     Remediation Plan                                 1
                                                                         plan
                                                                         Identify corresponding video with each UoF and its investigation, to include
                                                                                                                                                                                 5/7/2018     Memo                                             1
                                                                         identifying cases without video
                                                                         Develop a training plan, along with APD Training Academy personnel, to
                                                                         conduct reviews of backlogged UoF investigations                                                        5/11/2018    Training Plan                                    1
                                                                         Identify and assign personnel to the backlog review team, in temporary duty or
                                                                                                                                                          Commander Robert
                                                                         collateral duty status, comprised of sworn personnel with investigative                                 5/14/2018    Training Documents                               1
                                                                                                                                                          Middleton (IA-Force)
                                                                         backgrounds
                                                                         Deliver training to the backlog review team members and their supervision                               5/14/2018    Memo                                             1
                                                                                                                                              Commander Robert
                                                                                                                                              Middleton (IA-Force)
                                                  Case 1:14-cv-01025-JB-SMV Document 399 Filed 09/01/18 Page 84 of 136
                                                            Conduct weekly review meetings with the backlog review team, IA-Force
                                                            Division Commander, IA-Force Division Lieutenant, the Compliance Bureau
                                                            Deputy Chief of Police and the Compliance Division Lieutenant for case review                            On going    Meeting Minutes                             1
                                                            and progress
                                                            Develop a training plan, along with Training Academy personnel, for the
                                                            backlog review team members and their responsibility to review UoF related                               5/11/2018   Training Plan                               1
                                                            videos
                                                            Deliver video review function training to the backlog review team members and
                                                            their supervision                                                                                        5/14/2018   Training Documents                          0
2. APD Implementation Unit   Create a Compliance Division
                             (Implementation Unit) within   Compliance Division personnel will:
                             the APD Compliance Bureau
                                                            Identify unnecessary positions working in the recently dissolved Inspections
                                                            Division and draft a problem solving document (CSW) for repurposing those                                1/2/2018    CSW document to DCOP Garcia                 1
                                                            positions within the Compliance Division
                                                            Obtain current employee roles and responsibilities from remaining personnel                                          Copies of city job descriptions and
                                                                                                                                                                     1/3/2018                                                1
                                                            within the recently dissolved Inspections Division (now Compliance Division)                                         individual comment
                                                            Develop a tentative organization chart for the new Compliance Division under
                                                                                                                                                                     2/23/2018   Organization chart sheet                    1
                                                            the Compliance Bureau
                                                            Draft job descriptions for the newly identified Implementation Unit Manager
                                                                                                                                                                     2/14/2018   Job descriptions template                   1
                                                            and Performance Metrics Unit Manager positions
                                                            Submit job descriptions for the above management positions to the City for
                                                                                                                                                                     3/2/2018    Job description form mandated by the City   1
                                                            approval (already approved by CAO Nair)                                             Lieutenant Cori
                                                            Draft job descriptions for the newly identified Force Review Unit that will be     Lowe (Compliance
                                                            responsible for conducting an additional supervisory review of all completed           Division)         5/5/2018    Job descriptions draft                      1
                                                            level 1 and a sample of levels 2 and 3 UoF investigations
                                                            Complete a Job Task Analysis and Needs Assessment to identify sufficient
                                                            staffing for the Implementation Unit, the Performance Metrics Unit and the                               5/20/2018   Completed JTA and NA                        1
                                                            Force Review Unit to provide quality compliance assistance to the APD
                                                            Draft a staffing request memo to the Chief of Police for sworn personnel based
                                                                                                                                                                     6/10/2018   Staffing memo request                       1
                                                            off the findings of the completed Job Task Analysis and Needs Assessment
                                                            Based on the results of the approved budget (effective July 1), draft a staffing
                                                            request memo to the Chief of Police for civilian personnel based off the findings
                                                                                                                                                                     7/20/2018   Staffing memo request                       1
                                                            of the completed Job Task Analysis and Needs Assessment, specifically data
                                                            analyst positions
                                                            Develop and submit a Compliance Division organization chart to the CAO and
                                                                                                                                              Deputy Chief Garcia    7/20/2018   Approval/feedback response                  1
                                                            Chief of Police for review and approval
                                                                                                                                                Lieutenant Cori
                                                            Submit the final organization chart to IMT and Parties for review and approval     Lowe (Compliance      7/31/2018   Approval/feedback response                  1
                                                                                                                                                   Division)

                             Amend and Publish SOP 3-52
                                                            Compliance Division personnel will:
                             (Policy Development Process)
                                                            Prepare a draft of SOP 3-52 (Policy Development Process) for future policies to
                                                                                                                                                                     2/26/2018   Draft SOP                                   1
                                                            follow
                                                            Schedule external stakeholder forums for input, feedback and commentary                                  2/26/2018   Minutes from POB, correspondence            1
                                                                                                                                                Jeramy Schmehl
                                                                                                                                                 (City Attorney)
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                                 Take the feedback from the forums and make the necessary revisions to SOP 3-
                                                                                                                 Jeramy Schmehl     3/1/2018    Written or correspondence                       1
                                 52
                                                                                                                  (City Attorney)
                                 Present the amended SOP 3-52 to the IMT and Parties for feedback and
                                                                                                                                    3/12/2018   Draft SOP                                       1
                                 commentary
                                 Revise the draft of SOP 3-52 with feedback from IMT and Parties                                    4/4/2018    Revised draft of SOP                            1
                                 Present the draft of SOP 3-52 for approval by IMT and Parties                                      4/4/2018    Approval/feedback response                      1
                                                                                                                 Adam Paul Garcia
                                 Publish SOP 3-52 internally and on the City website                                                4/14/2018   PowerDMS, city website                          1
                                                                                                                   (SOP Liaison)
Develop and Implement
                                 Compliance Division personnel will:
Compliance Division Policy
                                 Identify best practices for Compliance Division related SOPs from other law
                                                                                                                                    3/12/2018   Copies of correspondence and/or online data     1
                                 enforcement agencies (i.e. Cleveland PD, Seattle PD and New Orleans PD)
                                 Develop processes and process flows for each identified section within the
                                                                                                                                    7/13/2018   Process flows for each identified section       1
                                 Compliance Division
                                                                                                                  Lieutenant Cori
                                 Draft a new SOP for the Compliance Division to address goals and objectives,
                                                                                                                 Lowe (Compliance
                                 personnel roles and responsibilities, training, UoF review and
                                                                                                                     Division)      7/13/2018   SOP Draft                                       1
                                 paragraph/division compliance, data analysis procedures, auditing processes,
                                 project management, etc. (Dependent upon budget and staffing approval)
                                 Submit to OPA and follow SOP 3-52 (Policy Development) process for policy
                                                                                                                                    7/13/2018   SOP Draft and correspondence                    1
                                 approval
Create a Section within the
Compliance Division devoted to Compliance Division personnel will:
UoF case oversight
                               Develop a UoF performance review unit to have oversight, review and identify
                               "policy outliers" in UoF cases not previously addressed in all level 1 and                                       Organization chart, job description(s), roles
                               samples of levels 2 and 3 UoF cases                                                                  7/6/2018    and responsibilities                            1
                               Develop a process for conducting random and directed reviews of all level 1 and
                               samples of levels 2 and 3 UoF cases                                                Lieutenant Cori   7/13/2018   Process work flow and schedule                  1
                               Develop a process to conduct a detailed UoF investigation failure analysis to     Lowe (Compliance
                               determine the cause of the failure with the goal of determining corrective            Division)
                               actions that need to be taken                                                                        7/27/2018   Failure analysis process work flow              1
                               Develop a process to provide recommendations for policy, training, supervision,
                               tactics, equipment (similar to the FRB function), disciplinary and/or                                            Process work flow and recommendation
                               remediation responses for each failure identified                                                    7/31/2018   sheet                                           1
Develop a process to measure
progress of the Compliance       Compliance Division personnel will:
Plan
                                 Schedule a technical assistance meeting with Dr. Ginger and Project Leads to
                                                                                                                                    3/13/2018   Minutes and sign in                             1
                                 develop open lines of communication between APD and the IMT
                                 Provide the formal, court approved compliance plan to the Project Leads via
                                                                                                                                    4/10/2018   Email correspondence                            1
                                 group email
                                 Identify best practices for performance measurements from other law                                            Correspondence, notes and online findings
                                                                                                                                    4/10/2018                                                   1
                                 enforcement agencies to measure progress of tasks/actions                        Lieutenant Cori               (New Orleans PD)
                                 Develop a performance measurement plan to easily see compliance progress, to    Lowe (Compliance
                                                                                                                                    4/20/2018   Correspondence, measurement plan                1
                                 include progress failures                                                           Division)
                                                                                                                                               Lieutenant Cori
                                                 Case 1:14-cv-01025-JB-SMV Document 399 Filed 09/01/18
                                                                                                     LowePage   86 of 136
                                                                                                         (Compliance
                                                                                                                                                  Division)
                                                           Identify a process and a platform to communicate, illustrate progress and
                                                                                                                                                                               Correspondence, chosen platform
                                                           commit to transparency within APD, the City of Albuquerque and the citizens                             4/20/2018                                              1
                                                                                                                                                                               documentation, process work flow
                                                           of Albuquerque
                                                                                                                                                                               Process work flow and measurement
                                                           Submit progress measurement process to IMT and parties for review/approval                              4/20/2018                                              1
                                                                                                                                                                               illustration example, approval/feedback
                                                           Implement approved progress measurement plan                                                            7/13/2018    Approved measurement plan                 1
3. Operations of Academy   Address staffing deficiencies
                                                           The APD Training Academy personnel will:
                           within the Training Academy
                                                           Develop Job Task Analysis (JTA) template to identify Academy personnel
                                                                                                                                                                   1/12/2018   JTA template                               1
                                                           staffing deficiencies
                                                           Conduct JTA for all current Training Academy staff positions                                            1/26/2018   JTA forms completed by all staff           1
                                                           Research national best practices to identify staffing of other law enforcement
                                                           agencies training sections                                                                              1/26/2018   Emails from departments contacted          1
                                                                                                                                              Commander John
                                                           Compile the completed JTA submissions for review and verification by the                                            Compilation of the JTA forms and JTA
                                                                                                                                              Sullivan (Training   1/26/2018                                              1
                                                           Training Academy Lieutenant                                                                                         verification memo
                                                                                                                                                  Academy)
                                                           Draft a COB document with the verified results of the JTAs to the Training
                                                                                                                                                                   2/18/2018   Memo addressed to the chain of command     1
                                                           Academy chain of command
                                                           Present JTA findings memo including a staffing request and a proposed
                                                                                                                                                                   2/23/2018   Memo addressed to the chain of command     1
                                                           organization chart for approval
                                                           Receive approval/disapproval for staffing request from the chain of command                             3/14/2018   Email correspondence                       1
                           Create a Comprehensive
                           Training Unit devoted to the 7- The APD Training Academy personnel will:
                           step Training Process
                                                                                                                                              Commander John
                                                           Develop a Comprehensive Training Unit to incorporate the 7-step training           Sullivan (Training               Organization chart, job description(s),
                                                           process to meet IMT recommendations                                                    Academy)         3/16/2018   required City forms                        1

                           Develop a process to determine
                                                          The APD Training Academy personnel will:
                           transfer of knowledge
                                                           Complete a CSW on effective transfer of knowledge (post-training testing           Commander John       2/23/2018   CSW                                        1
                                                           methods)                                                                           Sullivan (Training
                                                           Submit the CSW through the Compliance Division to the Chief of Police                  Academy)         2/23/2018   CSW, email correspondence                  1
                           Develop a Modified Civilian
                           Police Academy (CPA) for        The APD Advanced Training will:
                           POB/CPOA/CPC members
                                                           Hire Full-time employee that will be responsible for the development of the
                                                                                                                                                                   1/20/2018   CSA A. Erickson                            1
                                                           modified CPA Program
                                                           Develop a modified CPA program for POB/CPOA/CPC members                                                 2/1/2018    Schedule                                   1
                                                           Deliver a modified CPA for POB/CPOA/CPC members over a two weekend                                                  Attendance rosters for 02/24-25/2018 and
                                                                                                                                              Commander John       3/4/2018                                               1
                                                           period                                                                                                              03/03-04/2018
                                                                                                                                              Sullivan (Training
                                                           Develop an Instructor Code of Conduct form and include in lesson plans                 Academy)         2/1/2018    Code of Conduct form                       1
                                                           Develop a survey component that will be utilized to assess efficacy of the CPA,
                                                                                                                                                                   2/24/2018   Surveys with feedback                      1
                                                           identifying strengths of the training and areas of improvement
                                                           Evaluate the survey findings for the revision of a Needs Assessment (part of the
                                                                                                                                                                   3/30/2018   Memo                                       1
                                                           7-step process) for the next modified CPA
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                                             Develop a Comprehensive
                                             Training Plan(s) (TP) to
                                                                               APD Training Academy will:
                                             provide effective and efficient
                                             training
                                                                               Develop Comprehensive Training Plans (TP) using the 7-step process to have a
                                                                               systematic and detailed plan that provides consistency for all training conducted                         11/30/2017   Draft TP                                      1
                                                                               for APD **See Appendix for 7-step process                                           Commander John
                                                                               Submit the TP to IMT for correction/approval                                        Sullivan (Training    12/17/2017   Draft TP                                      1
                                                                               Draft a secondary TP addressing the IMR-6 recommendations to improve the                Academy)
                                                                                                                                                                                          4/1/2018    Revised draft of the TP                       1
                                                                               training process
                                                                               Resubmit the revised TP to the IMT for correction/approval                                                 4/1/2018    Revised draft of the TP                       1
4. Supervisor UoF Investigations - Process   Improve the Force Review          The Project Lead along with IA, Training Academy, FSB and other
Failures                                     Board (FRB) process               identified APD personnel will:
                                                                               Identify deficiencies in the current FRB SOP (2-56)                                                       12/1/2017    COB identifying the deficiencies              1
                                                                               Draft standardized form(s) for FRB to use going forward                                                   12/1/2017    Draft Form(s)                                 1
                                                                               Identify national practices of other law enforcement agencies that have and use
                                                                               a Force Review Board process                                                                              1/15/2018    Electronic correspondence and IACPnet         1
                                                                               Revise the FRB SOP 2-56 to address the identified deficiencies                                            1/30/2018    Draft revision of SOP 2-56                    1
                                                                               Draft a Special Order to continue tactical FRB to keep from creating a large
                                                                                                                                                                                          2/3/2018    Draft of Special Order                        1
                                                                               backlog of cases awaiting review
                                                                               Submit the Special Order to the IMT and parties for approval                                              2/28/2018    Draft Special Order                           1
                                                                               Submit a draft of the SOP and forms to the IMT and parties for
                                                                                                                                                                                          3/1/2018    IMT approval/corrections correspondence       1
                                                                               approval/feedback
                                                                               Develop an FRB handbook draft to assist current and future FRB members in           Lieutenant Jennifer
                                                                                                                                                                                         3/30/2018    Handbook draft                                1
                                                                               the FRB process                                                                     Perez (Performance
                                                                               Submit SOP 2-56 to the SOP Liaison to begin the policy development process            Review Section)
                                                                                                                                                                                          4/1/2018    SOP draft                                     1
                                                                               (see SOP 3-52)
                                                                                                                                                                                                      Training Plan that includes UoF and FRB
                                                                               Develop a training plan, along with Training Academy personnel, to train FRB
                                                                                                                                                                                         4/20/2018    related SOPs (update upon UoF SOP suite       1
                                                                               members on the FRB process and UoF policies and investigations
                                                                                                                                                                                                      approval)
                                                                                                                                                                                                      Training Plan that includes UoF and FRB
                                                                               Submit an APD FRB training plan to the IMT and parties for review/approval                                4/20/2018    related SOPs (update upon UoF SOP suite       1
                                                                                                                                                                                                      approval)
                                                                                                                                                                                                      Sign in roster, Training Plan that includes
                                                                               Train new FRB voting members on policies, expectations and procedures for
                                                                                                                                                                                         4/20/2018    UoF and FRB related SOPs (update upon         0
                                                                               conducting a thorough review
                                                                                                                                                                                                      UoF SOP suite approval)
                                             Develop a Training Plan for
5. UoF (UoF) Training                                                          APD Advanced Training/Force Investigations (IAD-Force) will:
                                             IAD-Force personnel
                                                                               Develop a training plan (TP) for IAD-Force personnel to perform UoF, criminal
                                                                                                                                                             Commander Robert
                                                                               and misconduct investigations. The training will be developed using the                                    6/4/2018    Training Plan                                 1
                                                                                                                                                             Middleton (IA-Force)
                                                                               previously approved 7-step training process. **See 7-Step Process in Appendix

                                             Evaluate McClendon Sub-class
6. Amici Concerns                                                         Behavioral Health Section/Compliance Division personnel will:
                                             concerns
                                                                          Schedule a meeting with the McClendon Sub-class attorneys pertaining to,
                                                                          "APD officers continue to jail people who need psychiatric hospitalization in             Lieutenant Cori      3/19/2018    Scheduling calendar                           1
                                                                          violation of APD's new policy" to clarify issues surrounding this concern                Lowe (Compliance
                                                                                                                                                                       Division)
                                                               Case 1:14-cv-01025-JB-SMV Document 399 Filed 09/01/18Lieutenant
                                                                                                                        PageCori
                                                                                                                               88 of 136
                                                                                                                                                          Lowe (Compliance
                                                                         Provide eCIT recruitment and training plan to the McClendon Sub-class                Division)
                                                                                                                                                                               5/1/2018    APD eCIT recruitment and training plan           1
                                                                         attorneys
                                          Provide CPOA/POB members
                                          Evidence.com access for case   Scientific Evidence Division personnel will:
                                          investigation
                                                                         Develop documented parameters to allow video access for CPOA/POB                 Commander Chris
                                                                         members into Evidence.com for the completion of case reviews and                 George (Scientific   4/13/2018   Written correspondence                           1
                                                                         investigations                                                                   Evidence Division)
                                          Provide dedicated
                                          administrative support
                                          personnel to the Community
                                          Policing Council (CPC)         The CPC Manager and identified APD personnel will:
                                                                         Draft a CPC administrative assistant job description to provide assistance for
                                                                         CPC minutes and agendas, recommendation(s) documentation, and to provide         Chris Sylvan (CPC    4/12/2018   Job description                                  1
                                                                         technological assistance to update CPC websites.                                     Manager)
                                                                         Submit the job description for approval                                                               4/12/2018   Job description, correspondence                  1
                                                                                                                                                                                                                             Total Tasks   91

As of 07/31/2018 with amended deadlines

             Completed (88/91)                       96.70%

      **Due but Not Completed (3/91)                 3.30%
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                        APPENDIX 4:

PERSONNEL MANAGEMENT, EDUCATION and
     DEVELOPMENT SYSTEM GUIDE
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PMED Unit
  CDR Mike Miller

  Lt Bret White

  Sgt (TBD)

  Data Analyst: (TBD)

  Office Assistant: (TBD)



Contact Us
If you have any questions, comments or need assistance please contact

APD-Internal Affairs
Attn: PMED Unit
c/0 400 Roma Blvd NW
Albuquerque, NM 87102

Phone: [Telephone]
Email: [Email address]
Web: [Web address]




                 Albuquerque Police Department
                 APD-Internal Affairs
                                                                        ALBUQUERQUE POLICE
                 Attn: PMED Unit
                 c/0 400 Roma Blvd NW
                                                                        DEPARTMENT
                 Albuquerque, NM 87102                                  Internal Affairs – PMED Unit
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Table of Contents                                                                                                                       Action Plans
PMED System ....................................................................................................................1       Positive Trends
Levels of Assessment .....................................................................................................2             Look at Award Recommendations, TDY assignments for career
                                                                                                                                        development.
PMED Process ...................................................................................................................3
                                                                                                                                        Can this behavior/performance be incorporated into training or policy?
Employee Duties ..............................................................................................................4

Action Plans .......................................................................................................................5   Negative Trends
                                                                                                                                        Can this trend be corrected? Look at Training, counselling, mentoring

                                                                                                                                        What factors contributed to this trend, lack of training, supervision, etc.

                                                                                                                                        Is a Performance Improvement Plan required?



                                                                                                                                        Performance Improvement Plan
                                                                                                                                        Used when there is an identified

                                                                                                                                               Failure to meet specific goals
                                                                                                                                               To improve behavior-related concerns
                                                                                                                                               Significant Training Deficiency.




                                                                                                                                                                                                                  5
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Employee Duties                                                          PMED System
Officer/Employee                                                         Policy (Administrative Orders 3-33)
Check your PMED status daily to ensure accuracy and compare your         It is the policy of the Albuquerque Police Department to
indicators to others performing the same or similar duties.              monitor performance, analyze data and support employees to
                                                                         ensure a professional work environment that promotes
Immediate Supervisor                                                     constitutional policing, community trust and career
                                                                         development.
Check the PMED status of the employees under your direct supervision
on a DAILY basis.

Look for positive trends for encouragement and reward
                                                                         The primary function of PMEDS is ensuring that
Look for negative trends to intercept and correct.                       personnel have the necessary support and guidance
Complete Level 2 Assessment and forward for review within 7 days of      from management to carry out the mission of the
receipt.
                                                                         Albuquerque Police Department in an effective and
                                                                         efficient manner.
2nd Level Supervisor
Review and approve/modify Level 2 Assessment within 5 days of
receipt                                                                  Indicator Categories
Complete Level 3 assessment and forward for review within 14 days of     There are seven (7) main categories tracked by APD to assist with
receipt.                                                                 Personnel Management and Development

Implement and monitor Action plans as required.                                 Use of Force
                                                                                Complaints Against Officers
                                                                                Vehicle Crashes
                                                                                Vehicle Pursuits
                                                                                Court Related Issues
                                                                                Training/Certifications
                                                                                Personnel Management

4                                                                                                                                            1
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Levels of Assessment                                                        PMED Process
Level 1 Assessment                                                          Thresholds Determination
This is the normal daily supervision of the officer/employee.               Baseline Thresholds will be determined using the APD Warehouse.

Supervisors will review this data on a daily basis to ensure the employee   The Mean/Median and Standard deviations will be determined using 3
is on track for their performance/behavior standards, training and          years of data.
career development.
                                                                            Thresholds Breakdown
Level 2 Assessment
                                                                            Thresholds will be calculated for the following
This occurs when an employee has a performance/behavior indicator
                                                                                   Department Wide
that is 1.5 to less than 2.0 standard deviations from the mean.
                                                                                   Bureau
Immediate Supervisors will review this to determine any                            Team
positive/negative trends that may be occurring.                                    Officer/Employee
Supervisors will document this review with the PMED Assessment form         The employee thresholds will be determined based on a rolling 12
and upload the assessment to BlueTeam as an attachment to the alert.        month calendar.

Level 3 Assessment                                                          PMED Alerts
This occurs when an employee has a performance/behavior indicator           Alerts are generated based on threshold analysis for each employee
that is 2.0 or more standard deviations from the mean.                      based on bureau standards.
2nd Level Supervisors will review this to determine any                     Supervisors will analyze the alerts to determine positive or negative
positive/negative trends that may be occurring.                             trends and the appropriate action in response to the alert.
Supervisors will document this review with the PMED Assessment form
and upload the assessment to BlueTeam as an attachment to the alert.

An Action Plan is required at this level of assessment.




2                                                                                                                                                   3
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                       APPENDIX 5:

  ALBUQUERQUE POLICE DEPARTMENT
     2017 ANNUAL REPORT AND 2018
    STRATEGIC RECRUITMENT PLAN
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                              City of Albuquerque



       ALBUQUERQUE POLICE DEPARTMENT
                          2017 Annual Report
                                               &
            2018 Strategic Recruitment Plan


Statement of Objectives

      The Albuquerque Police Department (APD) Recruiting Unit remains steadfast in its
       efforts to seek out and recruit only the most qualified individuals who wish to serve our
       community as law enforcement officers, and Police Service Aides (PSAs). The recruiting
       process is without regard to race, color, national origin, disability, age, gender, sexual
       orientation, or medical condition.
      Applicants must be willing and able to be trained to provide a safe, secure community
       where the rights, history, and culture of all citizens is valued, respected, and protected.
      The 2018 Strategic Recruitment Plan was implemented to support the APD’s goal of a
       department workforce that accurately reflects the ethnic and racial composition of our
       community.
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                                2017 Cadet Class Demographics


                       Group                118 Cadet Class        119 Cadet Class

                     FEMALE                        10                    7
                       MALE                        39                    16
                    CAUCASIAN                      22                    9
                     HISPANIC                      21                    12
                AFRICAN AMERICAN                   1                     0
                      OTHER                        5                     2


                                     2017 Recruiting Events


In 2017 the Recruiting Unit participated in 78 recruiting events. It has continued its
collaboration with neighborhood and community leaders. The unit has participated in career
fairs sponsored by Senator Michael Padilla (District 14), and Bernalillo County Commissioner
Michael Quezada (District 2). It has met separately with all six Community Policing Councils to
provide information about the recruiting process, to answer questions, and to ask for
suggestions to help increase the number of officers in Albuquerque. Recruiting officers have
attended several events and meetings sponsored by the NAACP and the SCLC (Southern
Christian Leadership Conference), and have been involved in two round table discussions on
racism, diversity and policing.

                Recruiting has also continued to work with educators in the state to provide
information regarding the application process specifically, and community policing in general.
Recruiting officers have attended numerous events in elementary- , middle- and high schools,
and have attended career fairs sponsored by colleges and universities. Additionally, the
Recruiting Unit has presented to Criminal Justice classes at UNM, CNM, and NM Highlands
University. Since we started focusing on schools at any level five years ago, we’ve seen an
increase number of students and former students applying (our partnership with APS has
directly yielded at least a dozen officers and Police Service Aides).

               Our strong relationship with the military continues to give us a quality pool of
applicants. Recruiting officers participate monthly in Kirtland’s Transition Assistance Program
(TAP), attend career fairs targeted solely at veterans, Guard-, and Reserve members.

              In October, APD Recruiting was invited to present to the International Chiefs of
Police Conference in Philadelphia.
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January     February    March         April         May         June        July        August     September     October      November      December

 Martin        CEC        Hiring         UNM          CPC        Rotary      Senator    National    NM State      Balloon     St. Therese   Brookline
  Luther                  Heroes       Criminal                   Club       Michael     Night        Fair         Fiesta        Public      College
 King Jr.                               Justice                               Padilla     Out                                 Safety Day
 Parade                                  Class                               Job Fair    Event
TAP           CNM           TAP          CNM        National      TAP          CNM       United    Chamber of       IACP         New         Atrisco
                                        Career       Day of                 Criminal      Way,     Commerce                     Mexico      Heritage
                                          Day        Prayer                   Justice   Mission                                Highlands     Career
                                                                               Class                                          Career Fair     Fair
 Martin     Grant        Shamrock      Jackson        TAP       Univ. of        NM      Undoing      Comm.        Heroes         UNM          TAP
 Luther     Middle         Fest        Middle        KAFB       Phoenix     Workfor     Racism      Michael      Game Day     Heroes Day
 King Jr.   School                      School                  Job Fair         ce                 Quezada
Luncheon                                                                    Solutions               Job Fair
Brookline    NMSU        Cleveland      UNM          Daniel     NW CPC       NE Area    Undoing       Job           CNM          UNM          ESGR
 College                  Middle      Triathlon     Webster                 Comman      Racism     Connection     Criminal     Criminal      Career
 Career                   School                      Park                  d Officer                              Justice      Justice        Fair
   Fair                                                                     Apprecia                                             Class
                                                                                tion
APS          Kirtland     Emerson      UNM Job       Round                  43rd SW       NM         NAACP        Chiefs of     Camino
College &                Elementary      and          Table:     National    Catholic    Work       Diversity      Police        Rael
Career                                Internship     Policing   Guard Job      Conf.     force     Conference    Conference    Academy
                                                                   Fair
                                         Fair       and Race
                                                      Issues
 SCLC         UNM          Cesar         CNM           ESGR        X               X    Kirtland     Team                     Community        X
 Board       Career       Chavez       Criminal                                           AFB       Kirtland                      Police
Member        Expo        Charter       Justice                                         Summer     Career Fair                   Council
                          School         Class                                            Bash                                  Foothills
  SCLC          X           NM           CNM        Veteran        X               X     SCLU        South                    Community        X
  Board                  Workforce     Criminal       Day                                            Valley                       Police
                        Connections     Justice      Park                                          Career Fair                   Council
                                         Class                                                                                 Southeast
    X           X        NM College      Team          X           X               X    Homeland     South                        CNM          X
                         and Career    Kirtland                                         Security     Valley                     Criminal
                         Readiness      Career                                                      Academy                      Justice
                           Bureau         Fair                                                                                    Class
                          Summit
    X           X                       Public         X           X               X       X                                     TAP           X
                                       Academy
                                           for
                                      Performing
                                          Arts
                                      College and
                                      Career Day
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                                2018 Goals and Plan of Action



1. Actively participate in events minority sponsored events and discussion groups

             2017 Review:
              APD Recruiting has taken part in numerous events intended to increase
              awareness of minority and gender issues in relation to law enforcement
              (Democracy Today round-table discussion, two-day discussion “Undoing
              Racism,” SCLC sponsored “Justice for Girls” discussion, and the annual SCLC
              Membership Meeting). Additionally, we were invited for the fourth year to the
              Annual Martin Luther King Jr. Luncheon. This year marks the first time an APD
              Chief and top command staff attended. The Recruiting Unit has also participated
              in several career fairs specifically targeted to attract minority applicants.
             2018 Plan:
              The Recruiting Unit will work as an active participant in support of minority
              goals. Such involvement in the past has fostered minority interest in the APD
              Police Academy, but we have still have work to do. Reverend Charles Becknell,
              President of the SCLC, has whole-heartedly endorsed the current APD
              leadership. It is hoped this new relationship will lead to further gains in the
              recruitment of African-American applicants. We will continue to support efforts
              to attract all minorities to law enforcement through career fairs sponsored by
              county and state representatives.

       2. Establish internet recruiting accounts

             2017 Review: Augmenting the actual physical presence of the unit at both
              recruiting and non-recruiting events is the use of web-based technologies to
              showcase career opportunities within the Albuquerque Police Department. To
              increase recruitment in 2017, APD utilized the following:
                 1. Indeed
                 2. Military Strategic
                 3. Edit House
                 4. Saludos
                 5. Law Officer
                 6. The Cause Interactive
                 7. CNM
                 8. The Blue Line
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            9. UNM Digital Display at Johnson Center
            10. Native Peoples Recruit

         The Recruiting Unit launched apdonline.com over two years ago to ensure easy,
         secure access to the department’s application process. Since then, experience
         gained has led to site modifications resulting in an even more streamlined
         application process.
        2018 Plan: The Recruiting Unit will continue to utilize web based advertising, and
         will regularly assess the effectiveness of specific sites. Additionally, the unit will
         review and assess advertising websites which have not heretofore been utilized.

  3. Military and university applicant pool

        2017 Review:
         Winning the coveted Freedom Award in 2016 has served to energize the
         Recruiting Unit in its efforts to attract qualified military personnel. We continue
         to take part in numerous events aimed at specifically attracting veterans and
         members National Guard and Reserve. Recruiting officers attend the monthly
         Transition Assistance Program (TAP) held at Kirtland Air Force Base, and
         participate in the bi-annual Kirtland Job Fair. We’ve established a “direct line”
         with the Brad Lakin, Career Readiness Counselor for the NM National Guard & Armed
         Forces. Interested applicants phone me directly from his office and are provided
         information on the selection process. The Recruiting Unit also participates in veteran job
         fairs sponsored by NM Workforce Solutions, a Department of Labor entity.

         Limited resources have compelled the Recruiting Unit to shift some of its focus
         away from elementary and middle school events in order to concentrate on high
         school and college/university students who have an active and timely interest in
         law enforcement. Our ties with the University of New Mexico have
         strengthened, mainly through the efforts of Anna Ericksen. She directs APD’s
         Internship Program. Through her contacts, we’ve been invited numerous times
         to discuss the selection process with students enrolled in Criminal Justice (CJ)
         classes. Our relationship with CNM continues to grow, as well. We have not only
         presented to CJ students there, but we’ve also take part in a college day in which
         high school students from around the state get a chance to visit with prospective
         future employers.

         The Police Service Aide program continues to grow in popularity, providing the
         department with an immediate applicant pool from which to recruit individuals
         into the Cadet Academy. Currently there are forty-six PSAs working for the
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         department, the most in recent history. Most of these will continue their law
         enforcement career as APD officers.



        2018 Plan:
         We would like to see APD’s Internship program expanded. Currently, staffing
         levels prohibit many APD units from accepting more than one intern, thus
         severely limiting access into a program that serves to introduce students to law
         enforcement career possibilities.
        Until staffing levels permit us to, we’ll focus less on elementary and middle
         school events, but we’ll sustain our commitment to regularly providing high
         school and college students with information regarding opportunities within the
         Albuquerque Police Department.


  4. Schedule biweekly testing cycles indefinitely

         2017 Review: The implementation of biweekly testing cycles has had a positive
          impact on applicants who need flexibility in order to attend testing/background
          appointments, and on the Recruiting/Background Unit which must administer
          the entire selection process. With smaller and more frequent testing cycles,
          background detectives who were once overwhelmed with a large influx of files
          all at once now receive them in smaller, more manageable numbers. This
          practice will continue through 2018.
       2018 Plan: In addition to continued biweekly testing cycles, the Recruiting Unit
          will also, schedule permitting, test applicants who are not legitimately able to
          attend weekend testing.
  5. Increase recruiting staff
        2017 Review: The Recruiting Unit has utilized three “overtime” officers to assist
           in conducting background investigations on Cadet, Lateral, Police Service Aide
           and Civilian hires.
        2018 Plan: It has been proposed to separate Recruiting and Backgrounds into
           two units and increase staff with 1 Sergeant, 2 officers, and 2 civilians. This will
           eliminate the need for overtime officers and increase the ability to proactively
           recruit and contact potential applicants.
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  6. City Entrance Revision

        2017 Review: In collaboration with City Human Resources the unit worked to
         create a separate City Entrance Exam targeted for Police Service Aide applicants.

  7. Electronic City Entrance Study Guide:

        2017 Review: With the implementation of the electronic study guide in 2016 the
         Unit had a goal of offering free tutoring sessions once a month to all applicants
         however fell short of this objective.
        2018 Plan: With the anticipation of increasing staff in 2018 the goal remains to
         offer free tutoring sessions monthly in 2018.

  8. Needed skills

        3292 total applications were received in 2017. This includes Cadet, Police Service
         Aide, Lateral, and Military Certification by Waiver. 801 applicants indicated that
         they speak another language.



  9. Challenges

        2018 Plan:
         The Recruiting Unit is not currently a separate entity; it is combined with the
         Background Unit. Both are supervised by one sergeant. We propose separating
         those units, each with its own supervisor, thus allowing the Recruiting Unit to be
         focused solely on recruiting qualified individuals. Further, we recommend the
         hiring of at least one more recruiter to gather data apropos qualified applicants
         who do not show up for testing, and to participate with recruiting events. Often,
         multiple recruiting and community events are scheduled on the same day; the one
         Recruiting Officer has to choose which of those events to attend. Further, as a
         matter of safety, it makes sense to send at least two recruiters to events (law
         enforcement agencies have sent at least two recruiters to every career fair I’ve
         attended).
         The Recruiting Unit has presented to all six Community Police Councils (CPCs). We
         value their recommendations, and have implemented some of them (updating our
         recruiting website, for example). We’ll continue to meet with CPS members to
         provide them statistical updates, and to explore and possibly implement their
         suggestions.
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                             Cadet Class Outcomes


PHASE                     118th Cadet Class         119th Cadet Class
Interest Cards Received   1,481                     1,181
Attended City Entrance    230                       170
Failed City Entrance      45                        39
Failed PT                 27                        34
Failed Nelson Denny       6                         5
Failed Poly               15                        16
Failed Psych              15                        8
Failed Backgrounds        60                        39
Withdrew from process     5                         4
Made it to Chiefs         57                        25
Failed Chiefs             6                         1
Passed Chiefs             51                        24
Failed Medical            2                         1
Seated                    49                        23
Male                      39                        16
Female                    10                        7
Military Experience       17                        3
>32 College Credits       34                        19
Academy Start Date        06/12/2017                11/13/2017
Graduation Date           12/21/2017                5/24/2018
Cadets Graduated          41                        In Progress
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                  Additional 2018 Objectives and Recommendations


    Seat 100 applicants
        2017 Review: We had a goal of hiring 100 applicants and exceeded with 110
           hires. The break down is a follows:
               o Cadet: 72
               o Lateral: 4
               o PSA: 34
        Action Plan: With two established cadet and Police Service Aide classes and an
           aggressive recruiting campaign our goal is to seat 100 applicants in 2018. We
           have met our PSA capacity (50) and will now have a surplus of applicants to
           select the best qualified moving forward.

    Electronic Personal Integrity Questionnaire

        Action Plan: Update the Personal Integrity Questionnaire (PIQ) and require
    applicants to submit it electronically utilizing the recruiting website.


                               Personnel Responsibilities


    Sergeant
   Supervisor of the Unit. Responsible to the Lieutenant of the
    Selection and Training Section.
         Monitors the entire recruiting and selection process and supervises all
            assigned support staff.
         Responsible for orientation and training of unit recruiters and
            detectives.
         The Unit Sergeant will complete monthly statistics by the last day of
            each month.
         The Sergeant may delegate the task of maintaining statistics to a
            support staff member who will be responsible for:
            a. Maintaining Recruiting and Selection statistics.
            b. A report by cadet class will be due 30 days after the start of
            the academy training.
         The Sergeant will be responsible for coordinating and all applicant
            medical examinations through Employee Health.
         The Sergeant will ensure that all State DPS forms are completed on
            each candidate and that each packet is prepared and delivered to
            DPS two weeks prior to the start of the academy.
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     Recruiter
   Responsible for recruitment and handles all walk-in police applicants.
    Attend, as assigned, any career fair, social gathering, or class for the
    purpose of recruiting police applicants.
   Will also serve as a background investigator. (See Unit S.O.P.
    Section for Background Investigator).
   Is required to be knowledgeable in personnel matters, especially
    Equal Opportunity and Affirmative Action and the American
    Disabilities Act (ADA) as it affects recruiting and selection and the
    management and operation of the Department.
   Is responsible for administering and scoring the beginning stages of
    the selection process.
    Is responsible for maintaining all display equipment, brochures, study
    packets, and other recruiting material and equipment.
   Is responsible for ensuring that there are sufficient and complete
    materials for all tests.
   Ensures that all elements of the selection process are administered,
    scored, evaluated, and interpreted in a uniform manner.


    Background Investigator
   Background investigators conduct extensive background
    investigations of a candidate's character, qualifications, and ability to
    perform as a police officer.
   Background investigators should be representative of the community
    and thoroughly trained in the content and use of the selection process.
   All background investigators will undergo training in background
    investigation through classroom and/or on-the-job training.
   Background investigators are charged with conducting all preliminary
    and follow up interviews of applicants/candidates, and review all
    Personal History Statements returned, ensuring they are complete and
    accurate.
   Will assist in the administering, scoring, and evaluating of the
    beginning stages of the selection process.
   Are responsible for the scheduling and completing of the selection
    process for candidates from the background investigation stage
    through the final selection for the Academy.
   Are responsible for ensuring that the final selection of candidates for
    academy classes has a clear understanding of the expectations during
    the academy of the physical and mental requirements.
   They should ensure that their candidate has picked up an orientation
    packet prior to the orientation.
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   Coordinate with the Physical Wellness Unit for an applicant physical
    orientation after Chief's Selection.
   May also serve as a recruiter.


    Administrative Aide II Background
   Performs all the duties of the Background Coordinator.
   Organizes and creates background folders, including background
    records checks.
    Sends out all prior residence letters, employment letters, and
    reference letters needed for background investigations.
    Sends out termination letters, congratulation letters and orientation
    packets.
    Conducts Triple I checks, I.D. checks, NCIC checks and Records
    checks.
    Maintains files of current and previous classes.
    Updates and verifies results in the recruiting and background
    computer tracking system (PRCR).
    Assists the Unit Sergeant in the preparation of the appropriate New
    Mexico Law Enforcement Academy documentation packets for each
    cadet once the Academy class has been selected. This includes birth
    certificates, DD-214's, driver's licenses, high school diplomas,
    medical forms, etc. as outlined in the application for certification.
    Compiles class information to track each class and class statistics,
    from the interest card stage through OJT.
    Organizes and disseminates internal selection board study packets.
    Responds to Background information requests from other police
    departments.
    Enters all of the testing scores and maintains the applicant database.
    (PRCR)
    Performs other duties as assigned by the Recruiting supervisor or
    commander.



  Administrative Aide Recruiting (Vacant)
 Answers telephones. Takes messages when necessary and/or refers
  callers to the appropriate recruiter, background investigator, or
  supervisor. If not related to recruiting, refers the caller to the
  appropriate agency or unit.

   Provides only basic information to potential applicants. All calls or
    walk-ins, where an applicant is interested in filling out an interest
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    card or needs specific information, will be referred to a detective or
    CSA, when one is available.
   Mails out information packets, study guides, and other various documents.
   Enters and files interest applications.
   Updates and verifies results in the recruiting and background
    computer tracking system.
   Orders supplies for the Section once a month.
   Makes copies of necessary documents.
   Creates new forms or documents and update old forms or documents
    when necessary.
   Logs all incoming and outgoing mail.
   Prepares and maintains testing applicant list.
   Prepares materials for recruiting trips and job fairs.
   Performs other duties as assigned by the Unit supervisor or
    commander.
   Puts together civilian background folders.
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                          City of Albuquerque



     ALBUQUERQUE POLICE DEPARTMENT
2018 Strategic Recruitment and Retention Plan
                                      Prepared by

                                  Chief Michael Geier

                               Deputy Chief Roger Banez

                              Commander James Collins

   There are nearly one million law enforcement officers in the United States serving a
   population of 320 million adults and children. Law enforcement agencies constantly
   need to replace officers due to retirement and other causes of attrition. It is a common
   dilemma that police departments across the nation are facing and many agencies find
   themselves competing with other police departments for qualified candidates.

   The Albuquerque Police Department (APD) currently has approximately 880 sworn
   police officers serving a city of approximately 560,000 residents. It is the 34th largest
   municipal police agency in the United States. APD once reached an authorized strength
   of almost 1100 officers but that number has decreased significantly over the last 10
   years to its present critical manpower levels. During this time crime has increased to
   dangerous levels, with property and violent crime reaching record numbers. Calls for
   service have also increased while proactive enforcement efforts have decreased.
   Essential staffing positions throughout the organization have been reduced or even
   eliminated. This report takes an in-depth look at the recruitment and retention
   challenges police agencies currently face, and will propose potential solutions to the
   problem in APD today.

   Like many, if not most law enforcement agencies, APD uses a recruitment and hiring
   policy to guide the selection process of new personnel. This policy can be found within
   the agency Standard Operating Policy (SOP) manual. It may also be part of a larger
   human resources policy for the city that oversees hiring for the organization. The actual
   policy itself is often procedural in nature, outlining the requirements for consideration
   of employment, and the necessary and exact steps taken through the hiring process to
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  ensure the most qualified applicants receive consideration. There is a statement of non-
  discrimination advocating diversity within the hiring process.

  These are all great policies to have and follow, but in an era of greater transparency,
  many organizations are including a “statement of principles” within their recruitment
  policy. This statement of principles outlines the philosophy and values within which
  the recruitment and selection process operates, as well as the hiring process
  expectations for both the agency and the potential candidates.

  Some items in the statement of principles might seem obvious, while others may also be
  included in the police department’s core values statement. However, the inclusion of
  expressed and transparent principles in the recruitment and selection process can be
  vitally important to the process itself, sending an important message to potential
  candidates considering your organization among their employment options.

  Here are five principles to include in APD’s recruitment and selection process policy:

  1. RESPECT FOR DIVERSITY

  Even with the presence of similar statements or clauses within the hiring procedures
  themselves, a clarified statement on the value of diversity in organizational
  personnel takes it beyond a mere policy statement to a philosophical statement of
  inclusion. This principle should clearly state that the organization not only respects
  diversity, it actively pursues a diverse police workforce through the recruitment and
  selection process.

  2. SERVICE

  This principle outlines the organization’s philosophy regarding community service.
  Regardless of the policing philosophy the organization employs, service to the
  community remains the foremost goal. To perpetuate that philosophy, an agency’s
  recruitment principles must emphasize service to the community, and actively seek
  police candidates who place community service as a priority in their personal approach
  to policing.

  3. INTEGRITY

  This principle requires the agency instill integrity and honesty as the twin pillars of
  credibility in the recruitment and selection process. This applies to both the police
  agency and the candidate. If an honest mistake is made in the process, the agency may
  resolve the issue on the side of the candidate. However, an agency should be clear that
  dishonesty or a lapse in moral integrity results in the immediate and permanent
  disqualification of the candidate. The social contract we hold with our communities
  demands we expect nothing less from current and future employees.
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  4. MERIT-BASED SELECTION

  The recruitment and hiring process of police officers can be extensive and lengthy, or it
  can be streamlined with an eye toward on-boarding at the earliest opportunity.
  Regardless of the process, the principle of merit-based selection in law enforcement
  requires the most qualified applicant receive the highest consideration. A merit-based
  selection process utilizes multiple evaluations of a candidate’s qualifications with each
  evaluation being objective and independent from the others.

  There will always be some form of subjective evaluation, but the goal of the merit-based
  system is to reduce subjectivity to the highest extent possible to assure candidates that
  their qualifications and performance are the primary considerations for advancement.

  5. RECRUIT FOR VACANCIES AND HIRE FOR THE FUTURE

  The philosophy behind this principle recognizes that the recruitment and selection
  process is the first and most important step an organization takes in acquiring and
  retaining career employees. While the immediate goal of the hiring process might be to
  fill current or imminent vacancies, the department is looking toward the sustainment of
  a stable and professional workforce. As such, consider those intangible traits and values
  that lend themselves to a long-standing employment relationship.

  Too many agencies find themselves repeating their recruitment process because the
  first process failed to result in enough qualified candidates, or the candidates chosen
  failed to successfully transition to permanent employment status. Implementing a set of
  organizational principles into your recruitment and selection process helps market your
  agency to the type of candidates who are most likely to be successful in your hiring
  process, thereby increasing the chances that your next hire will be a member of your
  organization for decades to come.


  The overall mission for resolving APD’s recruitment and retention dilemma is to address
  the attrition issues and provide adequate staffing to proactively fight crime and deliver
  quality service to the community. This paper will propose a number of priority goals and
  objectives for the Department. These can be used to develop a long term strategic plan
  to achieve this mission and its related goals and objectives. The 5 main goals, or pillars
  of this strategic plan are as follows:

  1. Taking a proactive and innovative approach to recruitment and retentions efforts
  2. Developing a marketing plan and a “brand” for APD using a police recruitment
     consultant
  3. Build a culturally diverse police force
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  4. Create new “messaging” efforts to attract millennial candidates during the
     recruitment process
  5. Implement a long term career development program and other best practices that
     can serve both in the hiring and retention of good officers

                                      GOAL 1:

       TAKING A PROACTIVE AND INNOVATIVE APPROACH TO RECRUITMENT AND
                           RETENTIONS EFFORTS

  Like many law enforcement agencies, the Albuquerque Police Department has been
  fighting an uphill recruiting and retention battle. Over the last few 3 years, the
  department set out to hire more police officers. However APD was only able to increase
  staffing by 71 officers, or approximately 24 officers per year, due to the numbers of
  police officers who retired or transferred to other agencies and the private sector. Some
  of the cadet also failed to complete the police academy. The following chart
  demonstrates how this has played out over the last three years for APD

   YEAR           Number of         Number of          Number of          Net Gain/Loss
                  Police Cadets     Police Cadets      Police Officer     (+/-)
                  Hired             Graduating         Retirements
                                    Academy
   2015           46                33                 57                 -24
   2016           111               93                 38                 +55
   2017           83                65                 29                 +36
   Totals         240               191                120                +71



  With recruitment struggling to keep up with attrition, the City of Albuquerque and the
  Albuquerque Police Department are aware they have to think outside of the box and, to
  that end, should continue to use any proven proactive approach with proven success or
  implement new, innovative recruitment and retention strategies. Key objectives and
  programs will now be reviewed and critical evaluation measures should be developed to
  assess and determine the most successful strategies.

  1. OFFER A HIRING OR REFERAL BONUS

  The department has implemented a $5000 hiring bonus, the first recipients of which are
  currently in the hiring process. This has possibly helped with recruiting efforts in the
  face of competing agencies frontloading their pay scales. The Department may want to
  continue with this incentive but direct it more toward reimbursing travel and relocation
  expenses for applicants.
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  Prior to the change to on-line recruiting, the primary methods were job fairs; some
  billboards placed around the city, and currently employed officers. There are many
  factors that lead to the success or failure of a police department’s recruiting program,
  but experience dictates, next to the on-line recruiting, the current officers are the best
  way to recruit potential candidates. The current employees are best at describing what
  it is like to work for a particular organization and can even help provide some guidance
  or “mentorship” through the application process. Currently, we offer APD employees a
  $500 referral bonus for an applicant which is paid out after the candidate completes the
  on the job training component. Some officers do take advantage of this referral bonus,
  but many do not.

  It is recommended that we replace the $5,000 Hiring Bonus with a $5,000 Referral
  Bonus to ALL City Employees with no cap. By doing this, it would provide us
  approximately 6,000 recruiters for the police department. In order for an employee to
  be given a referral bonus, the applicant must claim the referrer during the initial
  application process, graduate the police academy and successfully complete OJT. Based
  on our experience, applicants rarely inquire about the hiring bonus and, in our opinion
  this incentive do not attract applicants any more than the other benefits already offered
  by the position. Currently every seated cadet receives this bonus so there is a 100%
  payout on this incentive. If we change it to the referral, not every cadet will have an
  employee referral which would actually reduce the cost of this incentive.

  2. CREATE A PRE-HIRE POLICE RECRUIT POSITION

  The department created a police pre-hire recruit position, which allows APD to hire
  applicants before the next police academy starts. This approach has helped prevent
  applicants from accepting jobs at other agencies while waiting for the police academy to
  begin. These police recruits perform administrative tasks and ride-alongs, obtaining a
  better understanding of daily operations.

  3. FOCUS ON LATERAL TRANSFER CANDIDATES

  We recognize that the lives and situations of police officers change. Accordingly, the
  department should a lateral transfer program that focuses on getting certified officers
  up to speed and on the street. Upon approval of the chief and the APOA, a Career
  Development Program should be developed to allow certified law enforcement officers
  to be hired and placed at salary levels commensurate with their training and experience.
  This program would provide a “career path and advancement ladder” for all APD sworn
  officers based on tenure, experience, training requirements, skill sets and performance
  evaluations.
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  Salary increases would follow with upward advancements in grade earned by an officer.
  It would allow officers to advance through their chosen career path with the flexibility to
  move laterally to other paths over their careers. Such options could include field
  services, investigations, traffic and supervisory/management. The lateral transfer
  program would consist of options ranging from in-state certifications by waiver to a
  lateral training academy and a field training phase. Such an approach would encourage
  both in-state and out-of-state lateral candidates to join APD without the loss of income
  or other benefits. The only exceptions would be seniority and retirement accrual for
  out-of-state applicants.

  Recruiters could reach out to recently retired APD or other New Mexico officers with an
  incentive plan to return to the department. These officers could be attracted by the
  higher pay associated with their previous tenure and hiring bonuses. Under State law
  they would be required to suspend their current NM PERA pensions and be hired as a
  lateral officer. However, the benefits would include working at a higher pay than when
  they retired, which in turn would accrue future retirement pensions; along with the
  ability to increase the percentage of such retirement benefits up to 90% of their new
  “top three” of service.

  For an officer who was under a Tier 1 PERA classification, their retirement at 20 years of
  service was 70% of their highest paid three years on the job. If that officer were to get
  hired as a returning lateral, he would be able to increase the value of the pension based
  on an expected higher “top 3” and by staying with the department for a little over 5
  more years, could retire at 90% of their re-calculated pension rate. With PERA only
  providing a 2% annual COLA raise to those officers who retired prior to July 1, 2017, this
  new incentive to return to APD could be highly beneficial especially when “fringe”
  benefits such as medical insurance is considered.

  4. ATTEND CAREER FAIRS AT COLLEGES AND MILITARY INSTALLATIONS

  APD has joined the rest of law enforcement that attends career fairs and sets up
  recruiting booths at colleges and local military installations. The department has
  extended these recruiting booths to community events as well. APD has also worked
  with colleges and military installations to give recruiting presentations to groups of
  students and service members. These presentations afford us the opportunity to more
  efficiently reach and present our department information to larger groups of people.

  In 2018, the department should consider participating in such innovative strategies as
  advertising employment opportunities on military publications or a “virtual” job fair,
  consisting of a live video conference with military personnel stationed overseas. While
  at career fairs on military installations, APD’s recruiting team should network with the
  military’s Transition Assistance Program (TAP) personnel to help with recruiting efforts.
  These relationships could prove fruitful in reaching potential applicants who are
  transitioning out of the military.
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  5. PRODUCE RECRUITMENT VIDEOS AND POSTERS

  APD should consider creating recruiting and promotional videos. A short recruitment
  video could be played during movie theater showings and on local television stations
  during an active recruitment cycle. This video could also be uploaded
  to Facebook and YouTube. It can also be added to the Department’s web site.
  Inspirational posters and billboards can also be used as an effective recruitment tool.

  6. USE INTERNET & WEB BASED RECRUITMENT STRATEGIES

  In early 2014, the Albuquerque Police Department changed the way it handled the
  recruiting process by using an internet media driven recruiting campaign. With the vast
  majority of households having computers, internet, and cell phones, this is fastest way
  to reach a large audience in a short and overall economical way. At that time and even
  now, this is considered an innovative approach to project the Albuquerque Police
  Department as a wonderful career choice. The use of a teleconference approach can be
  a valuable means to reach out with a live “video recruitment brochure.” This can focus
  on reaching audiences in criminal justice programs or on military bases and can provide
  interactive “Q & A” opportunities for potential candidates. A logical follow-up process to
  this will be described in the following section.

  7. CONDUCT TRAVELING AND OFF-SITE TESTING

  Historically, the department only administered the initial required segments of the
  testing and selection process locally. These “traveling tests” can be administered
  throughout the State and different locations across the nation, including colleges and
  military installations. Any success of trial efforts can pave the way for a consistent
  traveling testing schedule in the future.

  Through the relationships we can foster with TAP personnel, we can contact military
  installations along with the staff at community colleges and universities with criminal
  justice programs and develop a continuous test process annually. A pilot program could
  be used for assessment purposes and the preliminary tests such as the Written
  Examination, Physical Fitness Test Battery, Personal Inventory Questionnaire (PIQ) and
  the written portions of the Psychological Tests could be administered over a two day
  period, such as a weekend or in the evening. Following a background investigation,
  candidates with passing scores would then only have to return to Albuquerque after a
  conditional offer of employment for the remaining Polygraph, Psychological and Medical
  segments of the test process, culminating with the final Chief’s Selection Interview.
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8. HOST AN EXPLORER PROGRAM AND OTHER OUTREACH PROGRAMS FOR YOUTHS AND
   YOUNG ADULTS

  Our department formerly hosted a Law Enforcement Explorer Post. This mentorship
  program brings in youth aged 14 to 18 to educate and train them in law enforcement
  experiences. Weekly, they get a unique look at what law enforcement does and why
  they do it. This type of program could help recruit and encourage young people to
  prepare for a career in law enforcement. It could also be a great tool for recruiting
  Police Service Aides, a position that can be a precursor to being hired by a local police
  agency. The former coordinator for the APD Explorer Program is still a member of the
  Department and could be used to develop and implement a new program.

  Other innovative strategies could be to encourage partnerships and mentorship
  programs in both the high school and college programs where students can do such
  activities as internships and ride-a-longs with police officers. This not only is a great
  community policing initiative but also serves to build trust and legitimacy for our agency
  with today’s youth in order to inspire future commitments to public service.

  Other options include continuing the Kids Police Academy and developing programs for
  Police-Youth interactions at local Community Centers, Athletic programs and clubs such
  as the Boys and Girls Clubs of America or Police Athletic Leagues. These are all great
  opportunities to promote positive relations between police officers and young people
  with the hopes of recruiting the future ranks and file in the Albuquerque Police
  Department.

  APD has also enjoyed a heavy recruiting effort for the Police Service Aide Program. Our
  partnership with the Albuquerque Public Schools has resulted in us reaching the
  maximum allocation of PSA hires for the department. PSA’s are an extremely valuable
  resource to APD, as well as providing us a strong candidate pool to draw from for police
  officers. APD should consider increasing the number of PSA positions. The PSA program
  was so successful that in the latter part of 2017, we were told to not hire anymore PSA’s
  because we had hit the limit. Without the steady flow of PSA’s into the program, it
  hinders our ability to add these employees to our cadet classes. Holding off on the
  continual hiring, in essence, creates a void for a period of time which could affect the
  overall numbers of police cadets starting an upcoming class. We had to stop hiring and
  recruiting PSA’s, which will eventually come around and create a possible void in our
  staffing efforts. This program is an investment that guarantees a steady flow of police
  applicants.
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9. RETHINK EDUCATIONAL REQUIRMENTS AND INCORPORATE THESE INTO A CAREER
   DEVELOPMENT PROGRAM

  When all of this is put together, an applicant for APD still must meet basic entry
  requirements. Some of these requirements are mandated by NMDPS, some by the
  CASA, and some by APD. Obviously, we cannot ignore the mandates of NMDPS and the
  CASA, but we can alter APD entry requirements to fit our needs. APD currently
  mandates a college requirement and in the absence of that there is an exceptional
  candidate waiver. NMSP is the only other agency in our area that has a college
  requirement to enter their department. APD also works closely with the College of
  Central New Mexico (CNM), a two-year community college offering a law enforcement
  curriculum. In addition, CNM grants up to 25 hours of college credit for successful
  completion of the APD Police Academy. The City of Albuquerque offers an educational
  incentive as well that helps officers finance their college classes.

  It is generally agreed that the college requirement is important, but opportunities
  should be provided for recruit officers to be allowed to temporarily defer and meet this
  requirement within reasonable time frames following graduation from the police
  academy. We see a lot of applicants who are not able or interested in attending a
  traditional university. Of those we also see several who cannot apply under the
  exceptional candidate waiver either. At any rate, both of these requirements are APD
  driven and in many cases exclude those who may end up being solid police officers.
  Unfortunately, we will never know because if they do not meet one of these two
  requirements, they never get to backgrounds. Obviously, this negatively affects our
  overall numbers. With a career development program, higher education becomes an
  important prerequisite as an officer advances through a career ladder. It would
  unreasonable to impose these requirements at a later stage and expect the officer to
  achieve a Bachelors or Masters level degree in a compressed time frame in light of
  family, work and other personal obligations. By incorporating this mindset and
  expectation early in one’s career, the ability to reach these educational goals is more
  readily obtainable. The Department can also work with colleges and universities that
  offer on-line degree programs to also help facilitate these opportunities for our
  personnel.

  The Department may wish to take a look at some other requirements and considering
  making changes to allow for a bigger candidate pool. The chart below shows a
  comparison of hiring requirements of metro Albuquerque law enforcement agencies.
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         *The applicant may be required to submit to a polygraph examination as part of the hiring
Agency         College        Misdemeanor    Felony       DWI        Multiple      Polygraph   City       NPOST
               Requirement    Drug           Drug       Conviction   DWI                       Entrance
                                                                     Convictions               Exam
Albuquerque         YES          3 YEAR       5 YEAR     5 YEAR       10 YEAR        YES          YES
Police
Bernalillo                       3 YEAR       5 YEAR     3 YEAR                      YES                   YES
County
Sheriffs
Rio Rancho                    PATTERN OF     PATTERN     7 YEAR                       *
                                ILLEGAL      OF
                               DRUG USE      ILLEGAL
                                             DRUG
                                             USE
NM State            YES       PATTERN OF     PATTERN    3 YEAR                       YES
Police                        ILLEGAL        OF
                              DRUG USE       ILLEGAL
                                             DRUG
                                             USE
process.




   10. ADOPT A FLEXIBLE SHIFT SCHEDULE

         Depending on available research, the national average for law enforcement attrition
         rates is about 15 percent. It is believed that over the last 3 years APD may have been at
         a much higher rate. As such, we need to improve morale and working conditions.

         One of the biggest steps our department took to improve retention was adopting
         a flexible shift schedule for officers assigned to the Field Services Division. Due to lower
         staffing levels, the Department went to a 12 hour shift schedule but this caused many
         additional problems in regards to lack of overlapping coverage, related fatigue, health
         concerns and training scheduling. The Department was able to change to a more user-
         friendly approach, by offering a new bid schedule that included 8, 10 and 12 hour shift
         options. This helped somewhat to provide more police officers on the street during peak
         times, and gave officers some flexibility to choose an option that corresponded to family
         and other obligations in their personal lives. Research will have to be conducted to show
         the impact this will have on our agency.




   11. PROVIDE DIVERSIFIED TRAINING OFFERINGS
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   Another area our agency can consider to retain police officers is training. The
   department recently leased a facility from the New Mexico National Guard. While the
   National Guard was consolidating personnel at another facility, our department was
   outgrowing the space at our APD Training Academy. Some of the Academy and other
   training staff were moved offsite to this newly acquired facility called the Reality Based
   Training Center.

   Access to the facility is controlled and the training grounds are secure. This new training
   facility puts the Albuquerque Police Department on par with top-tier agencies. The
   training at this location is a major component of the settlement agreement APD is
   currently operating under due to the focus on de-escalation and constitutional
   principles regarding the use of force.

   The Police Academy itself is a state of the art facility with a gymnasium and running
   track that includes a state certified obstacle course. The Department operates its own
   firearms training and qualifications at two off-site range locations offering a wide range
   of options in this critical aspect of training. The Police Academy also houses a FATS
   firearm simulator system that trains in judgmental and decisional shooting and other
   less than lethal force options.

   APD currently offers these diversified training offerings that smaller agencies cannot
   provide. In addition, APD offers a wide range of in-service and advanced training
   opportunities that coincide with an officer’s interests and assignments. All of these can
   be emphasized as benefits for an applicant to join our department.

12. INCREASE STAFFING & REORGANIZE RECRUITING & BACKGROUND UNITS

   The Albuquerque Police Department Recruiting and Background Unit are housed at the
   APD Academy and falls under the command of the director of training and academy
   lieutenant. Once, many years ago, the units were split into two separate entities with
   its own sergeant and personnel to handle the day-to-day operations. In recent times,
   the unit has been combined due to personnel shortages and both operations are
   managed by one sergeant. While it may seem easy to see the connection between the
   units, the responsibilities of each unit are very different. As anyone could imagine, the
   workload for a single sergeant to manage two different processes is enormous and may
   lend to an efficiency problem in providing the department with enough qualified
   applicants to fill cadet classes. The workload created a need to re-evaluate the way the
   department recruited.

   As indicated, we do have a recruiting unit and that unit does an outstanding job.
   However, the entire unit is comprised of one sworn officer and the sergeant who
   manages both processes, recruiting and backgrounds. The recruiter spends most of his
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  day trying to keep up with phone calls, answering emails, and setting up testing dates.
  It leaves very little time for him to have that personal interaction with applicants that is
  so needed to close the gap between those who apply and those who actually show up
  for testing. In between all of that, the recruiter attends certain community events and
  will even take part in some job fairs. To put a fine point on it, he needs help.

  Our on-line recruiting generates approximately 10,000 visitors a month, which then
  yields about 350 applicants per month. This is quite a lot for one person to manage.
  The numbers indicate there is a great deal of interest in APD and obviously our on-line
  campaign is very good.

  The background side of the unit is responsible for all police applicants, PSA’s, and
  laterals. They also conduct backgrounds for communication operators, prisoner
  transport employees, records technicians, forensic technicians, and crime scene
  technicians. This is all done with two full time sworn investigators, a part time CSA, and
  a civilian investigator. In order to keep up with the demand, we have been forced to use
  additional investigators, not assigned to the academy, on over-time to keep up. Clearly,
  they could use additional support as well.

  While technology is a valuable recruiting tool, we still need adequate staffing and
  structure to develop an effective and efficient process. The recommendation would be
  to Split Recruiting and Backgrounds into two separate units and staff with at least two
  sworn recruiters and 4 sworn or civilian background investigators. Retired officers hired
  on a contractual or part time basis could be a viable option to help make our process
  more robust. Each unit will have its own sergeant/supervisor who answers to the
  academy lieutenant on the organization chart.

  Another suggestion is to create a position of Applicant Outreach Coordinator (AOC).
  This would be a civilian position who would contact all qualified applicants who are
  scheduled to attend upcoming testing weekends, to pick up and drop off out-of-state
  applicants who are here for weekend testing and who are in need of transportation, and
  to provide resources for all seated cadets. A further recommendation would be to start
  this position with a Rivenrock contract employee until all of the “bugs” are worked out.
  To this end the Department should design and purchase a recruitment and
  transportation vehicle to the academy for use by the AOC and Recruiting Staff to not
  only transport applicants to and from testing but also serve as a “mobile” billboard for
  APD.
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  CONCLUSION

  As many of these initiatives are so new, we do not have any data to share on our
  success to date. We are eagerly waiting for the time when our efforts can be better
  quantified to determine what are the “best practices we can use to ensure the success
  of future recruitment and retention efforts.

                                           GOAL 2

       DEVELOPING A MARKETING PLAN AND A “BRAND” FOR APD USING A POLICE
                       RECRUITMENT CONSULTANT

  As police departments struggle to recruit and retain officers, some agencies are hiring
  recruitment consultants to help. For law enforcement agencies considering outside
  assistance with recruitment campaigns, one pressing question is how to find the right
  consultant. Calvin Dark and Rasheedah Thomas are the principals of CD Global
  Strategies Group, a Washington, DC-based strategic communications
  firm. (www.cdglobalstrategies.com.) The company has worked with law enforcement
  agencies from across the country on crisis communications, marketing and branding.
  Helping police departments increase their ranks has been incredibly rewarding for their
  company.

  According to this group, before hiring a recruitment consultant, a police department
  should consider the following questions:

  1. WHAT TYPE OF RECRUITMENT CONSULTANT SHOULD A POLICE DEPARTMENT LOOK
  FOR?

  “Marketing,” “communications” or “public relations” are labels police departments use
  in solicitations for recruitment consultants – but they have different meanings for police
  departments and the consultants who want to work with them. The best way to bridge
  this divide is to be specific about your needs. Detailed descriptions and scopes of work
  help potential consultants decide if the services they provide are the right fit for your
  department. Finding a firm with experience working with law enforcement is a big plus.
  A company that does not have that experience will have a steep learning curve at the
  beginning of your work together – a learning curve you may have to pay for.

  2. WHAT CAN A RECRUITMENT CONSULTANT DO TO HELP POLICE DEPARTMENTS?

  Hire a consultant who will work with you to create a strategic plan with detailed
  deliverables. Beware of firms who promise a lot of flash with little substance! A
  thorough audit of everything you are currently doing to recruit, along with robust
  messaging development, must be the foundation of your outreach.
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  3. HOW MUCH WILL A RECRUITMENT CONSULTANT COST?

  Keep in mind that whatever your budget, a recruitment campaign is a long-term
  investment in the effectiveness of your department and you get what you pay for. If you
  can be transparent with candidates, a consultant will work with you to tailor a set of
  deliverables to your budget.

  Unlike other categories of consultants your department or municipality may hire – such
  as outside legal counsel, construction or facilities repair – setting up an hourly
  arrangement with a recruitment consultant adds an unnecessary layer of work for the
  consultant to track progress (time better spent on the campaign itself) and bureaucratic
  burdens for your staff to review and approve timesheets.

  The best method is to work with your consultant from the beginning to agree on a clear
  set of deliverables along a specific timeline. This allows for mutual clarity on what’s
  expected, when it should be completed and, ultimately, what you’re getting for your
  money.

  4. HOW LONG SHOULD A CONTRACT WITH A RECRUITMENT CONSULTANT LAST?

  While each successful recruitment campaign is specific to your department and its
  challenges, there are generally four phases to campaigns:

  Phase 1 - Review and audit of your existing outreach, what you're doing that’s working
  and what’s not, as well as identifying the target audiences you want to reach.

  Phase 2 - Messaging development, production of outreach materials and creating a
  calendar of activities.

  Phase 3 - Implementation of the recruitment campaign and carrying out the activities.

  Phase 4 - Evaluation of results and planning for long-term engagement and activities.

  Whatever your budget or timeline, make sure it includes all four phases. For long-term
  success, give consultants the opportunity to fully complete the phases, especially three
  and four.

  A common mistake departments make is spending the time and money for an outside
  consultant to create a great set of tools, but not allowing the consultants to help the
  agency use them effectively. This doesn’t mean you have to use consultants indefinitely,
  but you should allow them to help you use those tools while simultaneously developing
  a training program for your internal staff so that they can take over in the long-term.
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  5. WHERE SHOULD A RECRUITMENT CONSULTANT BE LOCATED?

  There are advantages to hiring a local firm. Local consultants know the area, can meet
  regularly in person, and usually have ties to the community so they have a stake in
  helping make the police departments that serve them more effective. However, if our
  department's goal is to increase the pool of qualified applicants and reach out
  to minorities and women, outside firms often have contacts and networks that can be
  beneficial to our campaign that a local firm may not have considered.

  Outside consultants can also provide a fresh perspective on what your current outreach
  looks like and how it can be improved. They won’t be deterred from proposing out-of-
  the-box solutions that would make a local firm say, “It’s never been done like that
  before” (the seven last words of a failed recruitment campaign). If your firm isn’t
  helping us think differently, we have wasted your investment.

  Technology allows us to communicate and work with each other whether you’re down
  the street or across the country, and there’s no obstacle that a short and well-planned
  site visit can’t help overcome. Whatever we decide is best for your APD, we should
  make that clear in our RFP so we don’t get responses we have to spend time
  unnecessarily reviewing.

  6. DOES EVERYONE IN THE DEPARTMENT NEED TO KNOW WE ARE DOING THIS?

  Involve members of your department as you plan your recruitment campaign. Current
  police officers can provide interesting and helpful perspectives on what skillsets and
  backgrounds can enhance their team. Our current officers should be able to effectively
  communicate the messaging, philosophy and objectives of our recruitment campaign.
  Whether speaking with high school students or representing your department at career
  fairs, they are the most effective ambassadors for your department.

  This is especially important if the goal of an APD recruitment campaign is to bring
  more diversity to our department. There are common misperceptions about promoting
  diversity – notably that this promotion is in exchange for quality of applicants. Being
  able to effectively communicate the importance of diversity will help your existing force
  better understand and partner with the communities they serve.
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  7. HOW DO WE MEASURE THE SUCCESS OF OUR POLICE RECRUITMENT CAMPAIGN?

  Measuring success is more than counting the number of qualified applicants you receive
  after the campaign, although that is an important measure! Work with department
  leadership, municipal stakeholders and your consultant to define what success means
  for you, including broadening your definition of what success looks like. Maybe it’s not
  more applicants, but more qualified women applicants, or that your entire force
  understands the importance of diversity and can articulate it to improve the way your
  communities view your department and its goals.

  It is extremely important to have this discussion with stakeholders whose buy-in you
  need to support (and often fund) your outreach. Prepare for the inevitable question
  from stakeholders: “Was the money we spent worth it?” Essentially the answer to this
  question is an evaluation of the specific goals and deliverables you established from the
  beginning.

  Experts also encourage our law enforcement clients to ask themselves once the
  recruitment campaign begins, “Are we doing things the same way we did before?” (The
  answer should be NO.) If you’re talking to the same people, using the same words and
  going to the same places, you’ll just get the same applicants and responses.

  OTHER CONSIDERATIONS

  Take full advantage of the expertise consultants can provide such as crisis management
  and general public relations services. Once you develop a relationship during the
  creation and implementation of your recruitment campaign, a good consultant will feel
  vested in the success of your department.

  If our budget doesn’t allow for having a consultant on a long-term retainer, include as
  part of your deliverables that they create a crisis communications plan APD can
  implement in the event of high-profile arrests, lawsuits and other controversies. Why is
  that relevant? Because those events will definitely hinder your recruitment campaigns if
  not properly dealt with.



                                           GOAL 3

                             BUILD A CULTURALLY DIVERSE POLICE FORCE


  The corporate world is asking, “How do we recruit, engage and retain a diverse
  workforce?” Diversity is not just a good idea today. It is a business imperative if
  companies want to stay competitive and innovative. What could law enforcement learn
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  from the business world to increase diversity among its ranks? The first step is to
  identify common mistakes in diversity recruitment, perceived obstacles and best
  practices by organizations.

  COMMON MISTAKES IN DIVERSITY RECRUITMENT

  Organizations make two mistakes when it comes to diversity recruitment. The
  organization only considers the visible dimensions of diversity: primarily race and
  gender. The recruitment brochure looks good, but everyone thinks the same.
  Differences that include sexual orientation, geographic background, thinking and
  communication style, work function, ability and disability, religion and work style are
  not valued and are even discouraged. This is a very narrow definition of diversity and
  offers little or no value to the organization in terms of new ideas, creativity and
  innovation.

  Again, diversity is defined by what you can see. Demographics reflect the outside
  community, but it is only at the lower or entry levels. There is little or no diversity as you
  move up into management. When questioned about diversity in their organization,
  leaders point to all the numbers. Every year they have good numbers, but the people
  are constantly changing. Employees leave and get jobs where there is a value of
  diversity at all levels and they are encouraged to move up in the ranks.

  ADDRESSING DIVERSITY CHALLENGES

  To be a successful organization in today’s culture, you need to create an environment of
  inclusion where people feel valued and integrated into a company’s mission, vision and
  strategy at all levels. When employees’ skills and knowledge are recognized, appreciated
  and utilized, they are more engaged in contributing to an organization’s success. They
  are more willing to go the extra mile and share ideas and innovation. The visible and
  invisible dimensions of diversity that they bring are used as resources for success and
  growth. In order to create an inclusive work environment, you need a diverse
  workforce.

  Assess your need. Clarify your definition of diversity. Include the visible as well as the
  invisible dimensions. Conduct a culture assessment of your organization, department or
  function using focus groups, interviews or surveys. Determine whether one or all of
  these methods would be most appropriate. Get feedback from the community and
  identify the needs of any potential end users.

  Develop a strategy and implementation plan for a diversity/culture change initiative.
  Any culture change must be driven by senior management, and include the whole
  organization. Address all systems and processes including recruitment, employee
  engagement, retention, promotion and performance evaluation.
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  BARRIERS TO SUCCESS

  There are three reasons why organizations drop the ball and don’t move forward.

  1. Analysis and data nullification

  When the assessment is completed and data analyzed, leadership is in denial about the
  results. Employees lose any trust or hope developed as a result of participating in the
  assessment. Leadership places blame on employees for having a hidden agenda.

  2. Short-cut solution

  Leadership listens to the report and decides that hiring a member of one of the
  underrepresented groups is the answer. They conduct an executive search for the best
  and brightest and declare a solution found. There is no need and no time for any long-
  term strategy.

  3. Diversity holding pattern

  Executive leadership holds a strategy meeting, which results in good ideas or long-term
  vision, but there is no process of accountability or steps to implement specific actions.
  Other than discussing the need for more diversity in the organization, there is no plan to
  change employee recruiting and retention methods.

  RECRUITMENT STRATEGIES WITH DIVERSITY IN MIND

  Organizations can deploy several strategies to improve diversity recruitment:

  1. Create a diverse pool of candidates

  If you are serious about implementing a diversity/culture change initiative, you must
  create a diverse pool of candidates. If you always recruit from the same places, with the
  same methods, you will always get the same people. In today’s competitive market, you
  need to be creative. You have to go where the candidates are and have a long enough
  lead-time to get a good selection of candidates.

  APD should consider the following:

        Research and develop a list of schools that historically have large numbers of
         people from different cultural, ethnic and racial backgrounds. Send recruiting
         teams to those schools.
        Attend career days at middle and high schools and come prepared to discuss the
         benefits of working as an officer in our Department.
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        Contact student groups on mainstream campuses and ask them to suggest the
         best candidates or include notices about your organization in their newsletters
         or other vehicles for communication. Develop relationships with diversity-
         related organizations (e.g., Black Student Union, Native American Students
         Organization, Asian-American Student Union, LGBT organizations, etc.) and
         sponsor events.
        Send a diverse team to meet with people at schools and other recruiting sites
         and build relationships so your organization will be the agency of choice to apply
         to work.
        Develop relationships with diverse community organizations and let them know
         about the opportunities in your organization.
        Identify new ways of reaching target markets. Consider running promotions in
         movie theaters before films like “Spiderman” and “Star Wars” in order reach a
         young market who might not have thought about policing as a career.

  2. Clearly communicate the recruitment process

  Our criteria for interviewing and hiring should be based on qualifications and not just
  because we are more comfortable with someone who went to the same school,
  practices the same religion or shares your gender or sexual orientation. Have a diverse
  panel conduct interviews so you can get other perspectives. Include diversity as part of
  our mission statement and display it on your website and marketing material. One of
  the first things a potential recruit will do in researching your organization will be to look
  at your website. If it does not state and show a high value for diversity, there is a good
  chance that recruit will look elsewhere. We need to market our diversity initiative
  throughout the organization so the word gets out that your environment is a great place
  for everyone to work. Identify any changes our organization has made regarding
  diversity and how diversity goals are being met.

  3. Change perceptions about your profession

  Identify stereotypes of people who work in law enforcement and develop strategies for
  changing perceptions:

        Use more inclusive language and visuals in rule books, training and recruiting
         materials. Make sure all pronouns are not male in law enforcement
        Be aware of our own biases and stereotypes and their impact on the
         environment. Participate in high-level diversity training.
        Create processes to make people who are different from you feel welcome and
         included in our organization, and then use the media to alert potential
         employees that you are a welcoming, inclusive employer.
        Market the diversity of their employees as strength. This helps promote APD as
         an employer of choice.
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        Mentor people who are a different gender or from different cultural or ethnic
         backgrounds. It will help you become more comfortable with other people and
         will help your staff grow in their careers.
        Incorporate ideas from other cultures to solve problems and be more innovative.

  4. Implement policies that support diversity recruitment

  Use resources that are already in place and research what other organizations have
  done to be successful. Implementing the following policies will support your diversity
  recruitment:

        Develop relationships with employee affinity groups and keep them apprised of
         any openings.
        Provide cross-cultural communication training to help staff work well together
         and serve the client population more effectively.
        Survey and interview staff across demographics to determine their needs in
         order to create a strategic plan for retention and increased recruitment under
         represented populations.
        Rethink your beliefs that a candidate should always fit a specific profile. Outside
         of physical requirements for being able to do the job, don’t let our biases
         exclude excellent candidates.

        Examine our definition of leadership qualities to include ways in which people
         with different thought processes and communication styles can lead. Police
         departments have been hierarchical in the past, so we should start learning that
         people with consensus styles can also be effective leaders and do not exclude
         them from the recruiting process.
        Conduct exit interviews and identify patterns and themes if they exist. Be willing
         to change to accommodate and use new ideas and creativity.
        Use a recruiting team trained in diversity and inclusion awareness

                                                 GOAL 4

          CREATE NEW “MESSAGING” EFFORTS TO ATTRACT MILLENNIAL CANDIDATES
                         DURING THE RECRUITMENT PROCESS

  Generally considered as those born between the early 1980s and the mid-1990s, they
  are technologically savvy, highly social, socially tolerant, generally well educated and
  civically engaged. They upend social and business conventions, challenging old ways of
  thinking across academic, marketplace and political landscapes, and driving change and
  innovation at a lightning fast pace.
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  They also take a lot of fire. Criticized as coddled, entitled and immature, they are seen
  to embody all the characteristics of the insulter du jour, the overly sensitive and much-
  maligned “snowflake.”

  HOW MILLENNIAL COPS DIFFER FROM PREVIOUS GENERATIONS

  Millennials entering law enforcement today are more likely than earlier generations of
  cops to boast college degrees (and to seek even higher education), to come from widely
  diverse backgrounds, and to express openness to and acceptance of ideas that would
  strike many older officers as unconventional (or even “liberal”).

  Many come pre-committed to maintaining a work/life balance in comparison to older
  colleagues, who wear years of working impossibly long hours and personal self-sacrifice
  (not to mention relentless pursuit of the almighty O.T. dollar!) like a badge of honor.
  They are less likely to center their social life around police culture, opting instead to
  compartmentalize their work and non-work lives.

  While these traits are concerning to veteran officers and administrators, to others they
  reflect a wider sociological shift. In recent years, we have been advocating for police
  officers to develop a healthier work/life balance to address the stresses of the job, so
  we hope this generation’s approach will become normalized over time.

  With that said, millennials – and especially younger millennials – do exhibit one trait
  that is already affecting police agencies currently hiring and employing them. A
  generational wariness toward long-term employment commitments has created issues
  of employee retention for a profession that has traditionally expected and relied on
  workforce longevity to ensure stability and experience.

  MILLENNIAL RECRUITMENT AND RETENTION CONCERNS

  Known as “job hoppers,” millennials move from one employer to another, trying on
  different hats, and ready to jump ship for greener (or more interesting) pastures.

  A 2012 poll of millennial workers found that as many as 91 percent expect to stay in any
  one job less than three years. To think law enforcement is drawing entirely from the 9
  percent with expectations of greater stability is foolish. Further, “54 percent of
  millennials either want to start a business or already have started one. And 72 percent
  of Generation Z (the post-millennial generation) want to start their own business.”

  Virtually all new police hires today are coming from the younger end of the millennial
  pool, with the Gen Z population soon to follow as they come of recruitment age. Gallup
  research found 60 percent of employed millennials are open to new opportunities, and
  they are the generation most likely to switch jobs and least engaged in the workplace.
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  These numbers are raising concern in the private sector where companies are not only
  competing to recruit and hire the best young talent, but to retain staff and promote
  engagement. Losing employees impacts productivity and profits, increases employee-
  training costs and often damages the ability of a company to attract replacement
  workers. The stakes for law enforcement may even be higher.

  Unlike the private sector that can generally expect its employee pool to remain in the
  game for up to 20 years longer than the typical police officer (who retires younger), they
  can draw from potential candidates across a wider range of age and experience. Law
  enforcement typically hires from a much younger pool, often due to statutory
  restrictions, with older candidates and experienced lateral transfers possible, but still
  representing relatively few hires.

  And as most police officers would probably attest, it can take three to five years for a
  young officer to become truly proficient at the job. The cost of training a young officer
  runs into the tens of thousands of dollars in the first few months of employment alone,
  with hiring expenses, salary and benefits, training, uniforms, gear and field training
  officer costs. Some departments wash out from 10 percent-50 percent of new hires
  before they clear probation, and still others quickly decide, “I was wrong, this isn’t for
  me!” and leave on their own.

  By the time an officer is solo, fully competent and invested for the long haul, a
  department has spent a small fortune. Send them to a few schools or invest in training
  for specialty positions or ancillary assignments and the cost increases. These are good
  investments if officers stick around long enough to produce benefits. Experienced,
  highly functioning, highly invested officers benefit their communities, departments and
  fellow officers. High turnover undermines good service, professionalism and morale.

  Police agencies are not only competing for a smaller pool of potential applicants relative
  to the millennials – which is still the largest living demographic – but can expect more of
  the same when they start recruiting Gen Z, the smallest demographic and the one most
  idealizing entrepreneurship over working for someone else. Recruitment and retention
  may only become harder in the future, so focusing on officer retention strategies now is
  a top priority for law enforcement agencies.



  PRINCIPLES OF RETAINING MILLENNIAL POLICE OFFICERS

  The key principle on which to focus and work toward is engagement. Employee
  engagement is a critical factor in job satisfaction for almost all employees regardless of
  age, but the millennial cohort is the one most likely to leave in its absence. To foster
  engagement, police agencies must emphasize certain attitudes and practices from the
  top down.
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  1. Respect an employee’s desire for a work/life balance

  The days of cops routinely sacrificing home and personal life for the job are over. Thanks
  to increased familial closeness and definitions of family expanded to include longtime
  friendship circles, the ubiquity of social media and tightened bonds it creates, and
  increased opportunities for socialization and lived “experiences,” millennial police
  officers are simply different than those of older generations.

  Embrace the differences. If possible, invite younger officers to bring their family and
  friends around to show off the department, go on ride-alongs, meet bosses and
  coworkers, and experience the job. Involving those people most important to your
  young officers in their work world increases the likelihood of the officer bonding with
  the agency. Working to enhance valued work/life balance demonstrates good faith,
  empathy and valuing what is important to them.

  2. Foster a sense of purpose

  Millennials demand purpose. They need to feel invested in something bigger than
  themselves, that their work has meaning and value, and that putting on the uniform
  each day is important. Police work can sometimes become a grind, where officers feel
  they are tasked busy work or simply spinning their wheels with little effect. It takes
  leadership and guidance, usually from a purpose-driven supervisor or fellow officer, for
  most employees to discern meaning from the mundane. There are countless
  “competent” managers in policing, but precious few leaders. Be that leader, regardless
  of rank.

  In “Millennials: The Job Hopping Generation,” Gallup writer Amy Adkins posits:

  It's possible that many millennials actually don't want to switch jobs, but their
  companies aren't giving them compelling reasons to stay. When millennials see what
  appears to be a better opportunity, they have every incentive to take it. While millennials
  can come across as wanting more and more, the reality is that they just want a job that
  feels worthwhile -- and they will keep looking until they find it.

  What could be more worthwhile than law enforcement? For the opportunity to make
  immediate, lasting impact, policing should offer countless opportunities.

  2. Provide varied and impactful opportunities

  In many law enforcement agencies, specialty assignments are doled out infrequently or
  given only to certain “golden children.” Opportunities for training, to take part on
  specialty teams or expand professional horizons are few. Even for high performers, this
  can create a sense of “I’ll never move up, or get a chance to do anything besides chase
  the radio,” leading to disillusionment and bitterness.
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  Even if specialty assignments are highly competitive and difficult to come by, we can still
  provide opportunities to learn and practice complex skill sets. Providing opportunities
  for temporary assignments with specialized divisions allows an officer to practice and
  demonstrate what they are capable of, stay engaged and have a little fun, while letting
  permanently assigned officers get to know younger officers’ work ethic and potential.
  The agency should develop a Career Progression or Career Development program that
  allows sworn officers different career paths such as patrol, investigations, traffic ,
  criminalistics, supervision/management and leadership. Within these paths are a
  number of different levels that allow advancement opportunities within one’s chosen
  path. These levels would come with pay increases based on required time in grade,
  performance evaluations, training requirements, formal education and other
  benchmarks of quality work and involvement. Officers can also have the flexibility to
  move laterally among different career paths without loss of grade, rank or salary.

  Encourage patrol officers to work complex investigations, develop community-policing
  projects, and formulate and carry out traffic enforcement strategies. Supervisors can
  foster officer development by arranging mentorship and training opportunities to
  develop needed skills.

  4. Provide recognition as a matter of course

  Millennials are often criticized as the “participation trophy” generation, even by
  themselves, and there is certainly some validity to that. However, occasional recognition
  is valuable.

  Leaders who care know that praising past and current behavior is the best way to
  predict future behavior. Praising those who have performed well virtually ensures they
  will continue whatever activity got them the praise. Recognition does not need to be
  formal or complex – a roll call “Atta boy!” goes a long way – but departmental awards
  are very powerful. Unfortunately, many departments see giving praise as a sign of
  weakness and finding fault or being highly critical is the norm. APD has a number of
  formal means of internal recognition but needs to use these examples of exemplary
  work need to be used to continually promote the positive actions of its personnel.

  5. Create an environment of advocacy and trust

  This one is huge, so do not underestimate it. Millennials are especially untrusting of
  institutions and organizations. In “Millennials Don’t Trust Anyone: That’s a big deal,”
  political analyst Chris Cillaza writes, “Of 10 major societal institutions, just two – the
  military and scientists – garnered majority support from millennials on the question of
  whom they trust to do the right thing most of the time.” The one bright light in an
  otherwise depressingly cynical article is that the police came in third. So we are doing
  okay, it seems, among young adults!
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  If you are a supervisor or senior officer, create an environment of advocacy and trust.
  Have your subordinates’ backs, be willing to take heat for them when it is due, and
  create an environment of advocacy and trust where appropriate.




  CONCLUSION

  The millennial generation is the future of law enforcement. It is up to current police
  officers and law enforcement leaders to prepare and support them for the challenges
  they face. We are all responsible for the retention of solid, well-trained, highly engaged
  police officers, so let’s make sure we do right by them and the communities we serve.


                                           GOAL 5

             IMPLEMENT A LONG TERM CAREER DEVELOPMENT PROGRAM AND OTHER
             BEST PRACTICES THAT CAN SERVE BOTH IN THE HIRING AND RETENTION OF
             GOOD OFFICERS

  1. HIRING PROCESS

  In order to understand why potential candidates might consider other professions, let’s
  look at how law enforcement compares with the rest of the working world. While
  agency administrators recognize police hiring processes as one of the best human
  resources tools available to the department, the process is costly, tedious, lengthy and
  invasive compared to other fields. A multi-page application, physical agility test,
  extended background check and polygraph are exhaustive compared to hiring practices
  of other jobs offering comparable compensation. The law enforcement hiring process
  can take months, whereas in the civilian world, an application, interview, criminal
  history and drug test can be completed in just days.

  In addition, many police applicants struggle to meet minimum police hiring standards.
  Credit history, physical fitness, prior drug use and other criminal activities limit the
  talent pool, causing some police departments to lower hiring standards – though this
  practice has historically provided mixed results and requires careful implementation. By
  comparison, other fields do not usually have such stringent requirements.
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  2. COMPENSATION

  According to the Bureau of Labor Statistics, the average salary of a police officer in the
  United States is $62,760, but that does not account for geography. This Bureau of Labor
  Statistics map reveals annual mean wages for police – approximately a quarter of which
  fall between $17,280 and $43,670. By comparison, multiple studies average the income
  of a graduate with a bachelor’s degree at around $50,000 per year.

  Requiring college degrees for police is an excellent practice with history grounded in
  research. In 1967, a taskforce commissioned by President Lyndon B. Johnson endorsed a
  four-year degree for police. The National Advisory Commission on Criminal Justice
  Standards and Goals and the Police Executive Research Forum echoed that
  endorsement. Multiple studies show educated officers generate fewer complaints and
  have less use of force issues. However, this may drive up the bar in addition to standard
  requirements when compared to civilian job opportunities.

  While APD compares well in compensation and other benefits among other police and
  sheriff’s departments in New Mexico, it is lacking in comparison to agencies in the
  surrounding region, such as Colorado, Texas and Arizona. It is difficult to make these
  comparisons unless other indicators such as cost of living and such are considered.



  3. RISK MANAGEMENT..

  Since events in Ferguson, there has been a growing distrust of law enforcement among
  some segments of society. When an officer is involved in a shooting, some community
  members assume the officer is in the wrong. These elements are often vocal and,
  unfortunately, there have been a few instances where their doubts and fears were
  borne out by the actions of some officers. This has a polarizing effect on potential
  applicants. Some may see the disorder and want to join the ranks to become part of the
  solution. Others prefer a path of less resistance. Either way, there can be little doubt
  that a law enforcement career is less likely to be obscure.

  There is obviously risk associated with working in law enforcement. The National Law
  Enforcement Memorial Fund lists the current total of officers lost so far this year at 99.
  The risks are not just physical. Peace officers can be taken to task by their agency,
  charged with crimes and prosecuted, and sued civilly. This scenario has played out on a
  number of occasions for APD. This is yet another consideration for those weighing out
  the balance of a law enforcement career.
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  4. GENERATIONAL CHALLENGES

  With thousands of peace officers across the nation heading toward retirement, we must
  pass the baton on to the next generation. According to a study by the Law Enforcement
  Management and Administrative Statistics (LEMAS) survey in 2003 and the Census of
  State and Local Law Enforcement Agencies (CSLLEA) in 2008, the national attrition rate
  for officers is approximately 10.8 percent

  Studies have shown millennials are often even more interested in self-advocacy than
  Generation X. Another part of this puzzle is the rapidity in which they seek return on
  their investment. Shortly after being hired they already want to be in SWAT or working
  as a detective, with little concept of the time it takes to prepare for those positions.
  Then after attaining these roles, they are ready to move on to the next goal. This
  presents enormous challenges for a field with firmly established beliefs about working
  your way up a progressive career ladder.

  For some people who may have contemplated pursuing a law enforcement career, their
  minds may have changed due to the anti-police sentiment we’ve seen over the last
  several years. For cops already employed, they may wonder whether to remain in their
  current department or the field itself.

  Though police departments may differ in size, they all face similar challenges. Here’s
  how police leaders from Austin, Texas, Montgomery County, Maryland, and the District
  of Columbia tackle the challenge of recruiting good candidates and retaining them when
  they are on the job.

  METROPOLITAN POLICE DEPARTMENT, WASHINGTON, D. C.

  Assistant Chief Robert Contee says his department is looking for officers with integrity
  and judgment, who can engage with the community. He acknowledges that law
  enforcement agencies everywhere are still trying to figure out how to retain good
  officers: “It is critical for us to identify ways to keep them,” said Contee, with the one- to
  five-year mark being a critical time for retention.

  To attract millennials, the department advertises positions on social media, in movie
  theaters, on the back of buses and on local radio stations, along with participating in
  traditional job fairs. Contee has four tips for retaining good cops:

     1. Flexibility for advancement. There needs to be flexibility in, as well as
        opportunities for, educational advancement in order to recruit and retain police
        officers.
     2. Opportunities for advancement. Agencies must offer opportunities for
        advancement. If officers cannot advance, they will go elsewhere, leaving the
        department from which they were initially hired.
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     3. Open communication. The department must provide an atmosphere where
        officers can voice their opinions and engage command officials in dialogue.
     4. Change to demonstrate value. Agencies must provide officers opportunities to
        demonstrate their value to the organization. Certain skill sets they possess may
        be beneficial to the department and may maintain their interest in that arena.

  MONTGOMERY COUNTY POLICE, MONTGOMERY COUNTY, MD

  Montgomery County is a suburb of the nation’s capital, rich in diversity. The county
  frequently works with neighboring jurisdictions in Virginia and the District of Columbia.
  A diversified work force is essential and, as Assistant Chief Luther Reynolds said, “Work
  ethic is huge.” Reynolds reveals that an impeccable reputation and the ability to get
  along well with others goes a long way in policing and, particularly, in diverse
  communities.

  Reynolds points out that people want to be part of a professional organization that
  cares about their well-being. In his county, he notes, there is a high level of support for
  officers from the community, as well as the judiciary and even local
  politicians. Reynolds offers six tips for personnel hiring and management:

     1. Value ethics and integrity. Integrity is essential in hiring good cops. “Integrity
        has to be impeccable. You can’t teach someone to be honest,” Reynolds said.
        Interpersonal communication skills are also vital in choosing the right candidates,
        and they must possess empathy and be effective in dealing with people.
     2. Offer a comprehensive compensation package. Pay and benefit packages are
        important in attracting officers. Benefits like take-home cars, pay increases,
        comprehensive healthcare coverage and retirement packages influence an
        individual’s initial decision to join a department and then stay with that
        department once they get some experience under their belt.
     3. Provide training opportunities. Emphasis Training is a key tool for retaining
        cops. Departments need a cadre of faculty and a curriculum of excellence that
        touches on the core values of the organization in order to produce a culture of
        excellence.
     4. Embrace technology. Agencies must embrace new technological tools and speak
        the language of Facebook and Twitter.
     5. Practice compassionate leadership. People are hungry for leadership. Good
        leaders treat people with dignity, value and respect and are models of
        compassion.
     6. Engage the community. Finally, an agency that values the community tends to
        retain officers because there is a lot of community engagement.

  “A large majority of people in Montgomery County care about police,” Reynolds said.
  When all these elements combine, people feel appreciated and valued. Officers need to
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  know there is support for their safety and recognition that what they do is important.
  They want to be heard. “It’s an ongoing evolution,” Reynolds said.

  AUSTIN POLICE DEPARTMENT, TEXAS

  Chief Brian Manley leads a department of 1,908 sworn officers and 725 civilians. His
  jurisdiction is in the top three of the highest paid agencies in the state. Manley believes
  that retention of good officers starts with recruiting. It is important to recruit the right
  candidates and emphasize the importance of community and community policing. He
  considers what candidates have done to give back to the community and how
  compassionate they are towards the community. His five tips for retention include
  effective leadership from first-line supervisors to the executive team:

     1. The organization must practice effective leadership.
     2. Departments must offer an attractive and competitive pay package.
     3. Law enforcement agencies need rigorous wellness programs that provide
        adequate opportunities for police officers to get help when they need it. This
        includes a strong peer support system and adequate equipment to maintain
        officer fitness.
     4. There must be growth opportunities within the organization that allow officers
        to expand their knowledge and experience.
     5. Offering cutting-edge training allows officers to perform at their best.
        These insights gleaned from law enforcement leaders in Washington, D. C.,
        Montgomery County and Austin demonstrate the commonalities shared in the
        recruitment and retention of excellent and productive law enforcement officers.
        Taking a strategic approach to hiring officers increases the likelihood you will
        retain those good cops in your ranks.



  SUMMARY

  Whether the difficulties of hiring processes, pay, risks or generational issues confront
  agencies across America, one thing is clear – law enforcement must adapt and evolve.
  Police leaders need to navigate new territory with both an eye toward the future and
  one to the past – stubbornly holding to values and hard-learned lessons, while
  simultaneously keeping open minds about how to proceed.

  Administrators must be mindful of these challenges and develop their recruiting
  strategies accordingly. This may require increased funding for recruitment and citing
  these challenges as justification for that funding. In addition, reasonable adaptation to
  the current candidate pool will help to hire and retain millennials. Shoring up retention
  numbers is also a good way to hold numbers on the back end, particularly for our most
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  seasoned officers. If we are to maintain a society of laws, we must fill the gaps in the
  thin blue line with qualified people, whatever the challenges we face finding candidates.

  This document addresses an array of current and proposed option and strategies to
  improve the recruitment and retention dilemma the Albuquerque Police Department
  has been faced with over the last few years. It contains an overview of all of these that
  can be developed into an evaluation and assessment matrix to determine the most
  effective and cost efficient means of increasing the size of APD in the near future. This
  study can also be used to develop an overall strategic plan using the mission, goal &
  objectives, underlying purpose, people responsible, performance benchmarks and
  timelines to direct this project to success.
